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15                                 UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
16                                       LOS ANGELES DIVISION
17
     In re:                                                         Case No. 2:19-bk-24804-VZ
18
     YUETING JIA1,
19                                                                  Chapter 11
                           Debtor.
20                                                                  DEBTOR’S THIRD AMENDED PLAN OF
                                                                    REORGANIZATION UNDER CHAPTER
21                                                                  11 OF THE BANKRUPTCY CODE

22                                                                  Confirmation Hearing
                                                                    Date: TBD
23                                                                  Time: TBD
                                                                    Place: Courtroom 1368
24                                                                         Roybal Federal Building
                                                                           255 E. Temple Street
25                                                                         Los Angeles, California 90012
                                                                    Judge: Hon. Vincent P. Zurzolo
26

27
     1
      The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
28   Marguerite Drive, Rancho Palos Verdes, CA 90275.
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 4
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 5
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 6

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 1                                                    INTRODUCTION
 2              Yueting Jia as a debtor and debtor in possession (the “Debtor” or “YT”) proposes, and is
 3   the proponent of, this chapter 11 plan of reorganization. The Plan2 provides for the reorganization
 4   of the Debtor under chapter 11 of the Bankruptcy Code. As set forth below and described in the
 5   Disclosure Statement, under the Plan:
 6   •      holders of Allowed Administrative Expense Claims, Priority Tax Claims, Priority Non-Tax
            Claims, and U.S. Secured Claims are paid in full;
 7
     •      holders of Allowed China Secured Claims retain their rights to pursue Collateral located in the
 8          PRC;
 9   •      holders of Allowed Debt Claims and Allowed Late Filed Debt Claims receive their pro rata
            distribution of the Trust Interests;
10
     •      except as set forth in the Plan, the Debtor and the Reorganized Debtor will irrevocably and
11          unconditionally release, waive, and discharge any Claims or Causes of Action that they have,
            had, or may have that are based on sections 544, 547, 548, 549, and/or 550 of the Bankruptcy
12          Code and analogous non-bankruptcy law for all purposes; and
13   •      the Debtor and holders of Allowed Claims release certain Persons and Entities.
14              Holders of Claims should refer to the Disclosure Statement for a discussion of the
15   Debtor’s history, business interests, assets, financial information, as well as a summary and
16   description of the Plan. Before voting to accept or reject the Plan, holders of Claims entitled
17   to vote on the Plan are encouraged to read carefully the Plan, the Disclosure Statement, and
18   their respective exhibits and schedules in their entirety. These are the only materials
19   approved for use in soliciting acceptances or rejections of the Plan.
20                                                ARTICLE I
                                       DEFINITIONS AND INTERPRETATION
21

22              1.1      Definitions.

23              As used in the Plan, capitalized terms have the meanings set forth in this Article I (such
24   meanings applicable to the singular and plural):
25              1.       Administrative Expense Claim means a Claim for a cost or expense of
26   administration of the Estate under sections 503(b) (including Claims arising under section
27   503(b)(9)), 507(a)(2), or 507(b) of the Bankruptcy Code, including (a) any actual and necessary
28   2
         Capitalized terms are as defined in Article 1 below.
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 1   cost and expense of preserving the Estate incurred after the Petition Date and through the Effective
 2   Date; (b) any indebtedness or obligations incurred or assumed by the Debtor after the Petition Date
 3   and through the Effective Date; (c) any Allowed compensation for professional services rendered,
 4   and Allowed reimbursement of expenses incurred, by a Professional retained by order of the
 5   Bankruptcy Court or otherwise Allowed pursuant to section 503(b) of the Bankruptcy Code; and
 6   (d) all fees due and payable pursuant to section 1930 of title 28 of the U.S. Code.
 7             2.   Administrative Expense Claim Bar Date means the first Business Day that is thirty
 8   (30) days after the Effective Date.
 9             3.   Allowed means, with respect to any Claim, such Claim or portion thereof against or
10   in the Debtor: (a) that has been listed by the Debtor in the Schedules as liquidated in amount and
11   not disputed or contingent and for which no contrary proof of claim has been filed; (b) as to which
12   the deadline for objecting or seeking estimation has passed, and no objection or request for
13   estimation has been filed; (c) as to which any objection or request for estimation that has been filed
14   has been settled, waived, withdrawn, or denied by a Final Order; or (d) that is allowed pursuant to
15   the terms of (i) a Final Order, (ii) an agreement by and among the holder of such Claim and the
16   Debtor or the Reorganized Debtor, as applicable, or (iii) the Plan.
17             4.   Ballot means the form distributed to each holder of an Impaired Claim that is entitled
18   to vote to accept or reject the Plan, on which such holder shall indicate acceptance or rejection of
19   the Plan.
20             5.   Bankruptcy Actions has the meaning set forth in Article 11.9 of the Plan.
21             6.   Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101–1532
22   et seq.
23             7.   Bankruptcy Court means the United States Bankruptcy Court for the Central
24   District of California (Los Angles Division), or such other court having jurisdiction over the
25   Chapter 11 Case or any proceeding within, or appeal of an order entered in, the Chapter 11 Case.
26             8.   Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, the Official
27   Bankruptcy Forms, or the local rules of the Bankruptcy Court.
28             9.   Business Day means any day, other than a Saturday, Sunday, or “legal holiday” (as

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 1   defined in Bankruptcy Rule 9006(a)).
 2           10.     Call Option means that certain call option exercisable by the Debtor under that
 3   certain Restructuring Agreement dated as of December 31, 2018, by and among Smart King (n/k/a
 4   FF Intelligent), the Debtor, Season Smart, and the other parties thereto.
 5           11.     Cash means legal tender of the United States of America and equivalents thereof.
 6           12.     Causes of Action means any action, claim, cause of action, controversy, demand,
 7   right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
 8   defense, offset, power, privilege, license, and franchise of any kind or character whatsoever,
 9   whether known or unknown, contingent or non-contingent, matured or unmatured, suspected or
10   unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
11   directly or derivatively, whether arising before, on, or after the Petition Date, in contract or in tort,
12   in law, or in equity, or pursuant to any other theory of law. For the avoidance of doubt, “Cause of
13   Action” includes: (a) any right of setoff, counterclaim, or recoupment and any claim for breach of
14   contract or for breach of duties imposed by law or in equity; (b) the right to object to Claims; (c) any
15   claim pursuant to section 362 or chapter 5 of the Bankruptcy Code; (d) any equitable remedy,
16   including, without limitation, any claim for equitable subordination, equitable disallowance, or
17   unjust enrichment; (e) any claim or defense including fraud, mistake, duress, and usury, and any
18   other defenses set forth in section 558 of the Bankruptcy Code; and (f) any cause of action or claim
19   arising under any state or foreign fraudulent transfer law.
20           13.     Chapter 11 Case means the case under chapter 11 of the Bankruptcy Code
21   commenced by the Debtor in the Bankruptcy Court.
22           14.     Chapter 11 Disclosures has the meaning set forth in Article 11.9 of the Plan.
23           15.     China Debtor List has the meaning set forth in Article 11.4(c) of the Plan.
24           16.     China Debtor List Covenant has the meaning set forth in Article 11.4(c) of the Plan.
25           17.     China Restrictions has the meaning set forth in Article 11.4(c) of the Plan.
26           18.     China Secured Claim means a Claim against the Debtor that is secured by a valid,
27   unavoidable, perfected, and enforceable Lien on, or security interest in, Collateral located in the
28   PRC. For the avoidance of doubt, the Allowed amount of a China Secured Claim shall equal the

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 1   value of such Collateral in accordance with section 506(a) of the Bankruptcy Code.
 2          19.     Chinese Courts has the meaning set forth in Article 11.4(c) of the Plan.
 3          20.     Claim means a claim, as defined in section 101(5) of the Bankruptcy Code, against
 4   the Debtor.
 5          21.     Class means a category of Claims established under Article III of the Plan pursuant
 6   to sections 1122 and 1123(a)(1) of the Bankruptcy Code.
 7          22.     Collateral means any property of the Debtor subject to a valid, unavoidable,
 8   perfected, and enforceable Lien on, or security interest in, such property.
 9          23.     Committee means the official committee of unsecured creditors appointed in the
10   Chapter 11 Case pursuant to section 1102 of the Bankruptcy Code.
11          24.     Confirmation Date means the date upon which the Bankruptcy Court enters the
12   Confirmation Order on the docket of the Chapter 11 Case.
13          25.     Confirmation Hearing means the hearing to be held by the Bankruptcy Court to
14   consider confirmation of the Plan under section 1129 of the Bankruptcy Code, as such hearing may
15   be continued from time to time.
16          26.     Confirmation Order means the order of the Bankruptcy Court confirming the Plan
17   pursuant to section 1129 of the Bankruptcy Code, and granting other related relief.
18          27.     Creditor Trust means the 2020 Creditor Liquidating Trust for the benefit of holders
19   of Allowed Debt Claims.
20          28.     Creditor Trust Committee has the meaning set forth in Article 6.2(f) of the Plan.
21          29.     Cure Amount has the meaning set forth in Article 9.3(a) of the Plan.
22          30.     Cure Dispute has the meaning set forth in Article 9.3(c) of the Plan.
23          31.     Cure Schedule has the meaning set forth in Article 9.3(b) of the Plan.
24          32.     Debt Claim means any Claim against the Debtor that is (a) not an Administrative
25   Expense Claim, Priority Tax Claim, Priority Non-Tax Claim, U.S. Secured Claim, or China
26   Secured Claim, (b) otherwise determined by the Bankruptcy Court to be a Debt Claim, or (c) a
27   Deficiency Claim.
28          33.     Debt Claim Allocation Amount means, for the purpose of determining the pro rata

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 1   share of Trusts Interests, (a) that portion of an Allowed Debt Claim that constitutes outstanding
 2   principal together with any unpaid interest on outstanding principal at the rate of four percent (4%)
 3   per annum from the time the underlying debt arose through the Petition Date, and (b) with respect
 4   to any holder of an Allowed Debt Claim who is a KCBI Claimant, subject to the approval of the
 5   applicable KCBI Settlement, up to an additional five percent (5%) of the Allowed amount of their
 6   Debt Claim Allocation Amount determined in accordance with clause (a).
 7          34.     Debt Claim Distribution Amount means on any Trust Distribution Date, the Debt
 8   Claim Allocation Amount minus any Other Distributions and Trust Distributions received by the
 9   holder of an Allowed Debt Claim before such Trust Distribution Date.
10          35.     Debtor has the meaning set forth in the Introduction.
11          36.     Declarations has the meaning set forth in Article 6.7 of the Plan.
12          37.     Deficiency Claim means that portion of a China Secured Claim that is determined
13   pursuant to section 506(a) of the Bankruptcy Code or through agreement, to exceed the value of
14   the claimant’s interest in the Collateral securing such China Secured Claim. For the avoidance of
15   doubt, all Deficiency Claims shall be treated as Debt Claims.
16          38.     DIP Facility means that certain debtor in possession facility from Pacific
17   Technology consisting of the DIP Note.
18          39.     DIP Note means that certain Secured Debtor in Possession Promissory Note dated
19   as of February 27, 2020, by and among Pacific Technology, as Lender, and the Debtor, as Borrower,
20   in the maximum principal amount of $6,400,000.
21          40.     Disallowed means, with respect to any Claim, a Claim or any portion thereof that is
22   not Allowed and (a) has been disallowed by a Final Order, (b) is listed in the Schedules as zero or
23   as contingent, disputed, or unliquidated and as to which no proof of claim or request for payment
24   of an Administrative Expense Claim has been timely filed or deemed timely filed with the
25   Bankruptcy Court, (c) is not listed in the Schedules and as to which no proof of claim or request
26   for payment of an Administrative Expense Claim has been timely filed or deemed timely filed with
27   the Bankruptcy Court, (d) has been withdrawn by agreement of the Debtor and the holder thereof,
28   or (e) has been withdrawn by the holder thereof.

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 1           41.    Discharge Date means the date upon which the Court grants the Debtor a discharge
 2   upon the earlier of: (a) distribution of the Trust Interests to the holders of Allowed Debt Claims and
 3   (b) all Allowed Claims shall have been paid under the Plan.
 4           42.    Disclosure Statement means that written disclosure statement, dated March __,
 5   2020, relating to the Plan, including, without limitation, all exhibits and schedules thereto, as the
 6   same may be amended, modified, or supplemented from time to time, as approved by the
 7   Bankruptcy Court pursuant to sections 1125 and 1126(b) of the Bankruptcy Code.
 8           43.    Disputed Claim means a Claim that is not yet Allowed.
 9           44.    Distributable Proceeds has the meaning set forth in Article 6.2(i) of the Plan.
10           45.    Distribution Event has the meaning set forth in Article 6.2(i) of the Plan.
11           46.    Distribution Record Date means the record date for purposes of making
12   distributions under the Plan on account of Allowed Claims, which date shall be the date of the
13   commencement of the Confirmation Hearing.
14           47.    Distribution Waterfall means the distribution waterfall set forth in Article 6.2(j) of
15   the Plan.
16           48.    Domestic Support Obligations means a domestic support obligation, as defined in
17   section 101(14A) of the Bankruptcy Code, as such obligations may be modified from time to time
18   by a court of competent jurisdiction.
19           49.    Effective Date means, with respect to the Plan, the Business Day selected by the
20   Debtor on which (a) no stay of the Confirmation Order is in effect, (b) the conditions to the
21   effectiveness of the Plan specified in Article 10.2 have been satisfied or waived (in accordance with
22   Article 10.3), and (c) the Debtor declares the Plan effective.
23           50.    Effective Date Wei Gan Payment has the meaning set forth in Article 6.6 of the
24   Plan.
25           51.    Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.
26           52.    Estate means the estate of the Debtor created pursuant to section 541 of the
27   Bankruptcy Code upon the commencement of the Chapter 11 Case.
28           53.    Exit Financing means financing, on terms and conditions acceptable to the

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 1   Committee and the Debtor, providing net proceeds in an amount not less than $1,500,000 to fund
 2   the operations of the Trust for the Initial Term, plus such amounts as necessary to make payments
 3   required to be made in connection with the Plan pursuant to Article 6.4 of the Plan. The material
 4   terms of the Exit Financing will be included in the Plan Supplement.
 5            54.      FF means Faraday & Future Inc., a Delaware corporation.
 6            55.      FF GP means FF Global Partners LLC, a Delaware limited liability company.
 7            56.      FF Intelligent means FF Intelligent Mobility Global Holdings Ltd. (formerly Smart
 8   King Ltd.), a company formed under the laws of the Cayman Islands.
 9            57.      FF Intelligent M&A means that certain Sixth Amended and Restated Memorandum
10   and Articles of Association of FF Intelligent Mobility Global Holdings Ltd. (f/k/a Smart King Ltd.)
11   adopted February 10, 2020.
12            58.      FF Intelligent Shares has the meaning set forth in Article 6.7 of the Plan.
13            59.      FF Intelligent Transfer Right means the Debtor’s contractual right to direct Pacific
14   Technology to direct FF Peak to direct FF Top to transfer the Trust FF Intelligent Shares to the
15   Trust.
16            60.      FF Peak means FF Peak Holding Limited, a company organized in the British
17   Virgin Islands.
18            61.      FF Top means FF Top Holding Ltd., a company organized in the British Virgin
19   Islands.
20            62.      Final Order means an order or judgment entered by the Bankruptcy Court or other
21   court of competent jurisdiction: (a) that has not been reversed, stayed, modified, amended, or
22   revoked, and as to which (i) any right to appeal or seek leave to appeal, certiorari, review,
23   reargument, stay, or rehearing has been waived or (ii) the time to appeal or seek leave to appeal,
24   certiorari, review, reargument, stay, or rehearing has expired and no appeal, motion for leave to
25   appeal, or petition for certiorari, review, reargument, stay, or rehearing is pending or (b) as to which
26   an appeal has been taken, a motion for leave to appeal, or petition for certiorari, review, reargument,
27   stay, or rehearing has been filed and (i) such appeal, motion for leave to appeal or petition for
28   certiorari, review, reargument, stay, or rehearing has been resolved by the highest court to which

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 1   the order or judgment was appealed or from which leave to appeal, certiorari, review, reargument,
 2   stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted), appeal
 3   further or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired
 4   and no such appeal, motion for leave to appeal, or petition for certiorari, further review, reargument,
 5   stay, or rehearing is pending; provided, however, that no order or judgment shall fail to be a “Final
 6   Order” solely because of the possibility that a motion pursuant to sections 502(j) or 1144 of the
 7   Bankruptcy Code, rules 59 or 60 of the Federal Rules of Civil Procedure, or Bankruptcy Rules 9023
 8   or 9024 may be filed with respect to such order or judgment.
 9          63.     Ford Field means Ford Field International Limited, a company organized in the
10   British Virgin Islands.
11          64.     Future Equity Incentive Plan has the meaning set forth in Article 6.2(k) of the Plan.
12          65.     Impaired means, with respect to a Class of Claims, a Class that is impaired within
13   the meaning of section 1124 of the Bankruptcy Code.
14          66.     Initial Term has the meaning set forth in Article 6.2(g) of the Plan.
15          67.     Injunctions means those certain limitations and prohibitions imposed by
16   preliminary injunctions, freezing orders, and/or similar orders from courts in the British Virgin
17   Islands and the United States federal courts situated in the state of California.
18          68.     IPO means an initial public offering on the New York Stock Exchange, Nasdaq, the
19   Hong Kong Stock Exchange, the London Stock Exchange, or any other internationally recognized
20   stock exchange (including in the PRC) with respect to the shares of outstanding capital stock of FF
21   Intelligent or such other relevant listing vehicle, as applicable.
22          69.     KCBI Claimant means a holder of an Allowed Debt Claim who also holds a
23   guarantee from a Key China Business Individual on the same obligation underlying their Allowed
24   Debt Claim and has voluntarily agreed to settle their claims against such Key China Business
25   Individual. The list of potential KCBI Claimants is included on Schedule C attached hereto.
26          70.     KCBI Settlement means a voluntary settlement agreement under Bankruptcy Rule
27   9019 between a Key China Business Individual and a KCBI Claimant, if such agreements are
28   reached. Any KCBI Settlements will be included in the Plan Supplement.

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 1            71.   Key China Business Individuals are those certain Chinese individuals who
 2   voluntarily enter into a KCBI Settlement with a KCBI Claimant prior to the Confirmation Date.
 3   The list of potential Key China Business Individuals is included on Schedule C attached hereto.
 4            72.   Late Filed Debt Claim means a Debt Claim filed after the applicable deadline set
 5   by the Bankruptcy Court to file proofs of claim in the Chapter 11 Case but before the occurrence
 6   of a Distribution Event.
 7            73.   Late Filed Debt Claims Reserve means the trust established for the benefit of
 8   holders of Allowed Late Filed Debt Claims.
 9            74.   Lien means a lien as defined in section 101(37) of the Bankruptcy Code.
10            75.   Liquidation Event means, with respect to Pacific Technology, FF Intelligent, any
11   of their respective material, direct or indirect, subsidiaries, or any future public listing vehicle for
12   the subsidiaries of FF Intelligent or Pacific Technology, each of the following events to the extent
13   that the event materially reduces the direct or indirect percentage ownership in FF Intelligent or
14   such other future public listing vehicle by the Trust other than by virtue of an equity investment by
15   a bona fide third party: (a) the commencement of an assignment for the benefit of creditors, a
16   receivership, a case under chapter 7 of the Bankruptcy Code, or a similar insolvency proceeding;
17   (b) the effective date of a liquidating plan under chapter 11 of the Bankruptcy Code; or (c) the
18   effective date of a reorganization plan under chapter 11 of the Bankruptcy Code, provided that
19   internal reorganizations (including mergers or dissolutions for tax or other purposes) that do not
20   adversely impact the value of the Trust’s direct or indirect interests in FF Intelligent or such other
21   future public listing vehicle are not intended to be Liquidation Events.
22            76.   Marketable Securities has the meaning set forth in Article 6.2(i) of the Plan.
23            77.   New PT Units has the meaning set forth in Article 6.2(a) of the Plan.
24            78.   Non-Debt Claim means any Claim against the Debtor that is (a) not a Debt Claim
25   or China Secured Claim or (b) otherwise determined by the Bankruptcy Court to be a Non-Debt
26   Claim.
27            79.   Other Distributions means (a) any amounts the holder of an Allowed Debt Claim
28   actually receives from the primary obligor or any guarantor besides the Debtor, of such Debt Claim

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 1   based on such holder’s contractual agreement with such primary obligor or guarantor, (b) if the
 2   primary debt obligation underlying such Debt Claim is satisfied in whole or in part by conversion
 3   to equity in any jurisdiction, the corresponding reduction in the amount of the Debt Claim on
 4   account of such conversion, or (c) any amounts the holder of an Allowed China Secured Claim or
 5   Allowed Debt Claim actually receives upon the disposition of any Seized China Assets.
 6          80.     Pacific Technology means Pacific Technology Holding LLC, a Delaware limited
 7   liability company.
 8          81.     Partner Executive Committee means the Partner Executive Committee of FF GP.
 9          82.     Person means person as defined in section 101(41) of the Bankruptcy Code.
10          83.     Petition Date means the date on which the Debtor filed his petition for relief
11   commencing the Chapter 11 Case.
12          84.     Plan means this third amended plan of reorganization under chapter 11 of the
13   Bankruptcy Code, including the exhibits and schedules hereto and the Plan Supplement, as may be
14   amended, supplemented, or modified from time to time in accordance with the Bankruptcy Code,
15   the Bankruptcy Rules, and the terms hereof.
16          85.     Plan Arbitration Procedures means the confidential arbitration procedures for the
17   resolution of all Plan-related disputes, including, without limitation, disputes related to the
18   allowance or amount of any Late Filed Debt Claims arising between the Debtor, on the one hand,
19   and the Trust, the Trustee, and/or the Creditor Trust Committee, on the other hand.
20          86.     Plan Distribution means a payment or distribution under the Plan to holders of
21   Allowed Claims or other eligible Entities.
22          87.     Plan Supplement means the compilation of documents (or forms or summary of
23   material terms thereof), schedules, and exhibits to the Plan (in each case as may be altered,
24   amended, modified, or supplemented from time to time in accordance with the terms hereof and in
25   accordance with the Bankruptcy Code and the Bankruptcy Rules) to be filed no later than five (5)
26   days before the Voting Deadline or such later date as the Bankruptcy Court may approve, including,
27   without limitation: (a) form and/or definitive agreements and related documents with respect to the
28   Trust Agreement; (b) the Schedule of Rejected Contracts and Leases; (c) the identity of the initial

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 1   Creditor Trust Committee; (d) the material terms of the Exit Financing; (e) the list of Claims to be
 2   deemed Allowed by the Plan on the Effective Date; and (f) any KCBI Settlements.
 3           88.    Plan Term Sheet means that certain Amended Plan Term Sheet attached as Exhibit
 4   B to the Disclosure Statement.
 5           89.    PRC means the People’s Republic of China.
 6           90.    Preferred Unit Distribution Rights has the meaning set forth in Article 6.7 of the
 7   Plan.
 8           91.    Preferred PT Units has the meaning set forth in Article 6.2(a) of the Plan.
 9           92.    Priority Non-Tax Claim means any Claim entitled to priority in right of payment
10   under section 507(a) of the Bankruptcy Code that is not an Administrative Expense Claim or a
11   Priority Tax Claim.
12           93.    Priority Tax Claim means any Claim entitled to priority in payment as specified in
13   section 507(a)(8) of the Bankruptcy Code.
14           94.    Professional means an Entity (a) employed in the Chapter 11 Case pursuant to
15   sections 327, 328, 363, or 1103 of the Bankruptcy Code or otherwise, or (b) seeking or awarded
16   compensation or reimbursement of expenses in connection with the Chapter 11 Case pursuant to
17   section 503(b)(4) of the Bankruptcy Code.
18           95.    PT LLCA means that certain Third Amended and Restated Limited Liability
19   Company Agreement of Pacific Technology dated July 5, 2019.
20           96.    Qualifying Financing has the meaning set forth in Article 6.2(l) of the Plan.
21           97.    Released Parties means, collectively, (a) the Debtor and the Estate; (b) all Persons
22   engaged or retained by the Debtor in connection with the Chapter 11 Case (including in connection
23   with the preparation of and analyses relating to the Disclosure Statement and the Plan); and (c) any
24   and all advisors, attorneys, actuaries, financial advisors, accountants, investment bankers, agents,
25   professionals, consultants and representatives of each of the foregoing Persons and Entities
26   (whether current or former, in each case in his, her, or its capacity as such).
27           98.    Releasing Parties means, collectively, and each solely in its capacity as such:
28   (a) each Released Party; (b) each holder of a Non-Debt Claim that either (i) votes to accept the Plan

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 1   or (ii) is conclusively deemed to have accepted the Plan; and (c) all other holders of Non-Debt
 2   Claims to the extent permitted by law.
 3          99.     Reorganized Debtor means the Debtor as reorganized under the Plan, and any
 4   successor thereto on or after the Effective Date.
 5          100.    Retained Actions has the meaning set forth in Article 8.3 of the Plan.
 6          101.    Schedule of Rejected Contracts and Leases means a schedule of the executory
 7   contracts and unexpired leases to be rejected pursuant to section 365 of the Bankruptcy Code and
 8   Article 9.1 hereof.
 9          102.    Schedules means the schedules of assets and liabilities filed by the Debtor on
10   October 17, 2019 [Docket No. 28], as required by section 521 of the Bankruptcy Code and
11   Bankruptcy Rule 1007, including any supplements or amendments thereto through the
12   Confirmation Date.
13          103.    Season Smart means Season Smart Limited, an affiliate of Evergrande Health
14   Industry Group.
15          104.    Second Wei Gan Payment has the meaning set forth in Article 6.6 of the Plan.
16          105.    Securities Act means the Securities Act of 1933, and all rules and regulations
17   promulgated thereunder.
18          106.    Seized China Assets means any assets that (a) (i) have already been collateralized
19   by the Debtor or an obligor, guarantor, or pledgor, (ii) have already been pledged by the Debtor or
20   an obligor, guarantor, or pledgor, or (iii) the Debtor, or an obligor, guarantor, or pledgor owns and
21   (b) have been seized, attached, or frozen by Chinese judiciary authorities in connection with
22   Chinese enforcement actions on account of any China Secured Claims or Debt Claims.
23          107.    Smart King means Smart King Ltd., a company formed under the laws of the
24   Cayman Islands now known as FF Intelligent Mobility Global Holdings Ltd.
25          108.    Standstill Period has the meaning set forth in Article 11.4(c) of the Plan.
26          109.    Term has the meaning set forth in Article 6.2(g) of the Plan.
27          110.    Trust means, collectively, the Creditor Trust and the Late Filed Debt Claims
28   Reserve.

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 1          111.    Trust Agreement means that certain Trust Agreement, by and among, the Debtor
 2   and the Trustee, on substantially similar terms as described in the Plan Term Sheet. A form of the
 3   Trust Agreement will be included in the Plan Supplement.
 4          112.    Trust Assets has the meaning set forth in Article 6.2(b) of the Plan.
 5          113.    Trust Distribution Affidavit has the meaning set forth in Article 6.2(i) of the Plan.
 6          114.    Trust Distribution Date has the meaning set forth in Article 6.2(i) of the Plan.
 7          115.    Trust Distributions means distributions paid from the Trust.
 8          116.    Trust Election means the election by a holder of an Administrative Expense Claim,
 9   Priority Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim to receive their pro rata share
10   of the Trust Assets pursuant to the Distribution Waterfall on the dates of distributions to holders of
11   the Trust Interests in lieu of their assigned recoveries under the Plan.
12          117.    Trust FF Intelligent Shares has the meaning set forth in Article 6.2(a) of the Plan.
13          118.    Trust Interest has the meaning set forth in Article 6.2 of the Plan.
14          119.    Trustee has the meaning set forth in Article 6.2(e) of the Plan.
15          120.    Unimpaired means, with respect to any Claim, or a Class of Claims, that is
16   unimpaired within the meaning of section 1124 of the Bankruptcy Code.
17          121.    U.S. Secured Claim means a Claim against the Debtor that is secured by a valid,
18   unavoidable, perfected, and enforceable Lien on, or security interest in, property of the Debtor
19   located in the United States, or that has the benefit of rights of setoff under section 553 of the
20   Bankruptcy Code, but only to the extent of the value of the holder’s interest in the Debtor’s interest
21   in such property, or to the extent of the amount subject to setoff, the value of which shall be
22   determined as provided in section 506 of the Bankruptcy Code.
23          122.    U.S. Trustee means the United States Trustee for the Central District of California.
24          123.    Voting Agent means Epiq Corporate Restructuring, LLC.
25          124.    Voting Deadline means 4:00 p.m. (Beijing Time) on [________], 2020.
26          125.    Warrant has the meaning set forth in Article 6.2(a) of the Plan.
27          126.    Wei Gan Claims has the meaning set forth in Article 6.6(b) of the Plan.
28          127.    Wei Gan Declaration has the meaning set forth in Article 6.7 of the Plan.

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 1           128.   Wei Gan Domestic Support Obligations has the meaning set forth in Article 6.6 of
 2   the Plan.
 3           129.   Wei Gan Liability Release Date has the meaning set forth in Article 6.6(b) of the
 4   Plan.
 5           130.   Wei Gan Release Consideration has the meaning set forth in Article 6.6 of the Plan.
 6           131.   Wei Gan Settlement has the meaning set forth in Article 6.6 of the Plan.
 7           132.   West Coast has the meaning set forth in Article 6.7(a) of the Plan.
 8           133.   Yidao Claims has the meaning set forth in Article 6.2(b) of the Plan.
 9           134.   YT Claims has the meaning set forth in Article 11.4(c) of the Plan.
10           135.   YT Declaration has the meaning set forth in Article 6.7 of the Plan.
11           1.2    Interpretation, Application of Definitions, and Rules of Construction.

12                  (a)     For purposes of the Plan and unless otherwise specified herein (i) the rules
13   of construction set forth in section 102 of the Bankruptcy Code shall apply; (ii) any term that it not
14   defined herein, but that is used in the Bankruptcy Code or Bankruptcy Rules, shall have the meaning
15   given to the term in the Bankruptcy Code or Bankruptcy Rules, as applicable; (iii) any reference in
16   the Plan to an existing document, schedule, or exhibit, whether or not filed with the Bankruptcy
17   Court, shall mean such document, schedule, or exhibit, as it may have been or may be amended,
18   modified, or supplemented; (iv) any reference to an Entity as a holder of a Claim includes that
19   Entity’s permitted successors and assigns; (v) all references to statutes, regulations, orders, rules of
20   courts, and the like shall mean as amended from time to time, as applicable to the Chapter 11 Case,
21   unless otherwise stated; and (vi) the words “include” and “including,” and variations thereof, shall
22   not be deemed to be terms of limitation, and shall be deemed to be followed by the words “without
23   limitation.”
24                  (b)     In computing any period of time prescribed or allowed by the Plan, the
25   provisions of Bankruptcy Rule 9006(a) shall apply.
26                  (c)     All references in the Plan to monetary figures refer to currency of the United
27   States of America.
28

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 1                                           ARTICLE II
                                         UNCLASSIFIED CLAIMS
 2

 3          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense

 4   Claims, Priority Tax Claims, and Domestic Support Obligations have not been classified for

 5   purposes of voting or receiving distributions. Rather, all such Claims are treated separately as

 6   unclassified Claims as set forth in this Article II, and the holders thereof are not entitled to vote on

 7   the Plan.

 8          2.1     Administrative Expense Claims.

 9                  (a)     Filing Administrative Expense Claims. The holder of an Administrative

10   Expense Claim, other than (i) a Claim covered by Article 2.2, (ii) a liability incurred and payable

11   in the ordinary course of business by the Debtor after the Petition Date, (iii) timely filed and

12   Allowed Claims arising under section 503(b)(9) of the Bankruptcy Code, or (iv) an Administrative

13   Expense Claim that has been Allowed on or before the Administrative Expense Claim Bar Date,

14   must file and serve on the Reorganized Debtor a request for payment of such Administrative

15   Expense Claim so that it is received no later than the Administrative Expense Claim Bar Date

16   pursuant to the procedures specified in the Confirmation Order and the notice of the Effective Date.

17   Holders required to file and serve, who fail to file and serve, a request for payment of

18   Administrative Expense Claims by the Administrative Expense Claim Bar Date shall be

19   forever barred, estopped, and enjoined from asserting such Administrative Expense Claims

20   against the Debtor or Reorganized Debtor and their property, and such Administrative

21   Expense Claims shall be deemed discharged as of the Effective Date. All such Claims shall, as

22   of the Effective Date, be subject to the permanent injunction set forth in Article 11.6 hereof.

23   Notwithstanding the foregoing, pursuant to section 503(b)(1)(D) of the Bankruptcy Code, no

24   governmental unit shall be required to file a request for payment of any Administrative Expense

25   Claim of a type described in sections 503(b)(1)(B) or 503(b)(1)(C) of the Bankruptcy Code as a

26   condition to such Claim being Allowed.

27                  (b)     Allowance of Administrative Expense Claims. An Administrative Expense

28   Claim, with respect to which a request for payment has been properly and timely filed pursuant to

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 1   Article 2.1(a) shall become an Allowed Administrative Expense Claim if no objection to such
 2   request is filed with the Bankruptcy Court and served on the Debtor and the requesting party on or
 3   before the one-hundred twentieth (120th) day after the Effective Date, as the same may be modified
 4   or extended by order of the Bankruptcy Court. If an objection is timely filed, the Administrative
 5   Expense Claim shall become an Allowed Administrative Expense Claim only to the extent Allowed
 6   by Final Order or as such Claim is settled, compromised, or otherwise resolved pursuant to Article
 7   8.3.
 8                  (c)     Payment of Allowed Administrative Expense Claims. Except to the extent
 9   that an Administrative Expense Claim has already been paid during the Chapter 11 Case, the holder
10   of an Allowed Administrative Expense Claim agrees to a less favorable treatment, or the Holder of
11   an Allowed Administrative Expense Claim makes a Trust Election, and except as provided in
12   Article 2.2, each holder of an Allowed Administrative Expense Claim against the Debtor shall
13   receive, in full and complete settlement, release, and discharge of such Administrative Expense
14   Claim, Cash equal to the unpaid amount of such Administrative Expense Claim on the latest of (i)
15   the Effective Date or as soon thereafter as reasonably practicable; (ii) thirty (30) days after the date
16   on which such Administrative Expense Claim becomes Allowed; (iii) the date on which such
17   Administrative Expense Claim becomes due and payable in the ordinary course of the Debtor’s
18   business in accordance with the terms and subject to the conditions of any agreements or
19   understandings governing, or other documents relating to, such Administrative Expense Claim; and
20   (iv) such other date as may be agreed to by such holder and the Debtor or Reorganized Debtor.
21          2.2     Professional Fees.

22                  (a)     Final Fee Applications. Each Professional requesting compensation pursuant
23   to sections 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankruptcy Code for services rendered
24   in connection with the Chapter 11 Case before the Effective Date shall (i) file with the Bankruptcy
25   Court, and serve on the Reorganized Debtor, an application for allowance of final compensation
26   and reimbursement of expenses in the Chapter 11 Case on or before the thirtieth (30th) day
27   following the Effective Date, and (ii) after notice and a hearing in accordance with the procedures
28

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 1   established by the Bankruptcy Code and Bankruptcy Rules and any prior orders of the Bankruptcy
 2   Court in the Chapter 11 Case, be paid in full, in Cash, in such amounts as are Allowed.
 3                  (b)    Ordinary Course Professional Fees and Expenses. The immediately
 4   preceding paragraph shall not affect any professional-service Entity that is permitted to receive,
 5   and the Debtor is permitted to pay, without seeking further authority from the Bankruptcy Court,
 6   compensation for services and reimbursement of professional fees and expenses in the ordinary
 7   course of business (and in accordance with any relevant prior order of the Bankruptcy Court), the
 8   payments for which may continue notwithstanding the occurrence of confirmation of the Plan.
 9                  (c)    Post-Effective Date Fees and Expenses. From and after the Effective Date,
10   the Reorganized Debtor may, upon submission of appropriate documentation and in the ordinary
11   course of business, pay the post-Effective Date charges incurred by the Reorganized Debtor for any
12   Professional’s fees, disbursements, expenses, or related support services without application to or
13   approval from the Bankruptcy Court. On the Effective Date, any requirement that Professionals
14   comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
15   compensation for services rendered after such date shall terminate, and the Reorganized Debtor
16   may employ and pay any Professional for fees and charges incurred from and after the Effective
17   Date in the ordinary course of business without any notice to or approval of the Bankruptcy Court.
18          2.3     Priority Tax Claims.

19          Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable
20   treatment, each holder of an Allowed Priority Tax Claim against the Debtor shall receive, in full
21   and complete settlement, release, and discharge of such Priority Tax Claim, Cash equal to the
22   unpaid amount of such Allowed Priority Tax Claim on the latest of (a) the Effective Date or as soon
23   thereafter as reasonably practicable; (b) thirty (30) days after the date on which such Priority Tax
24   Claim becomes Allowed; (c) the date on which such Priority Tax Claim becomes due and payable;
25   and (d) such other date as may be mutually agreed to by and among such holder and the Debtor or
26   Reorganized Debtor; provided, however, that the Reorganized Debtor shall be authorized, at his
27   option, and in lieu of payment in full, in Cash, of an Allowed Priority Tax Claim as provided above,
28   to make deferred Cash payments on account thereof in the manner and to the extent permitted under

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 1   section 1129(a)(9)(C) of the Bankruptcy Code.
 2          2.4     Domestic Support Obligations.

 3          On the Effective Date, the Debtor shall make any payments to comply with any postpetition
 4   unfunded obligations on account of any Domestic Support Obligations, if any such obligations
 5   exist, as may be required for the Debtor to be current with respect to such Domestic Support
 6   Obligations as of the Effective Date pursuant to section 1129(a)(14) of the Bankruptcy Code. After
 7   the Effective Date, the Debtor shall timely make all payments on account of Domestic Support
 8   Obligations to the parties entitled to receive such payments, if any such obligations exist, including,
 9   without limitation, any Wei Gan Domestic Support Obligations, in each case at the times and in the
10   amounts required by the agreements and orders evidencing such Domestic Support Obligations, as
11   such agreements may from time to time be modified in accordance with applicable law. The sole
12   source of payment for any Domestic Support Obligations will be the Debtor’s post-Effective Date
13   Cash and no holder of a Domestic Support Obligation shall have any recourse against the Trust.
14   For the avoidance of doubt, the Wei Gan Domestic Support Obligations shall not constitute claims
15   against the Trust or otherwise have any claims against or interest in the Trust Assets.
16          2.5     DIP Facility Claims.

17          In the event that there are proceeds remaining from the Exit Financing after (a) funding the
18   operations of the Trust for the Initial Term and (b) making all Cash payments required to be made
19   in connection with the Plan pursuant to Article 6.4 of the Plan, the remaining proceeds of the Exit
20   Financing shall be used to pay all amounts outstanding under the DIP Facility in Cash on the
21   Effective Date or as soon thereafter as practicable. Once such payment in full has been made, any
22   agreements and instruments related thereto shall be deemed terminated and all Liens and security
23   interests granted to secure the Debtor’s obligations under the DIP Facility shall be satisfied,
24   discharged, and terminated in full and of no further force and effect.
25          In the event that there are not sufficient proceeds remaining from the Exit Financing to pay
26   all amounts outstanding under the DIP Facility, in satisfaction of the Debtor’s obligations under the
27   DIP Facility, on the Effective Date or as soon thereafter as practicable and in accordance with the
28   terms and conditions of the DIP Note (a) the maturity date of the DIP Facility shall be automatically

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 1   extended for one year from the Effective Date, (b) all obligations of the Debtor under the DIP
 2   Facility shall be assumed by the Trust, (c) all Liens and security interests on any Collateral
 3   transferred to the Trust in accordance with the Trust Agreement shall remain in place as perfected
 4   first priority Liens and survive against the Trust, subject only to the Liens securing the Exit
 5   Financing, (d) the interest rate per annum shall be increased to twelve percent (12% per annum),
 6   and (e) all other Liens and security interests shall be satisfied, discharged, and terminated in full
 7   and of no further force and effect.
 8                                           ARTICLE III
                                      CLASSIFICATION OF CLAIMS
 9

10            The following table designates the Classes of Claims against the Debtor, and specifies

11   which Classes are (a) Impaired or Unimpaired; (b) entitled to vote to accept or reject the Plan in

12   accordance with section 1126 of the Bankruptcy Code; and (c) deemed to accept the Plan. A Claim

13   or portion thereof is classified in a particular Class only to the extent that such Claim or portion

14   thereof qualifies within the description of such Class and is classified in a different Class to the

15   extent that the portion of such Claim qualifies within the description of such different Class.

16            3.1     Class Identification.

17            Claims against the Debtor are classified as follows:

18
       Class                Description               Impairment                 Entitled to Vote
19        1         Priority Non- Tax Claims     Unimpaired                No (deemed to accept)
20        2         U.S. Secured Claims          Unimpaired                No (deemed to accept)

21        3         China Secured Claims         Unimpaired                No (deemed to accept)

22        4         Debt Claims                  Impaired                  Yes

23                                             ARTICLE IV
                                          TREATMENT OF CLAIMS
24
              4.1     Priority Non-Tax Claims (Class 1).
25
                      (a)     Classification. Class 1 consists of all Priority Non-Tax Claims.
26
                      (b)     Treatment. Except to the extent that a holder of an Allowed Priority Non-
27
     Tax Claim agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as
28

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 1   soon thereafter as practicable, each holder of an Allowed Priority Non-Tax Claim shall receive, at
 2   the option of the Debtor and in full and complete settlement, release, and discharge of, and in
 3   exchange for, such Priority Non-Tax Claim (i) payment in full in Cash or (ii) other treatment
 4   rendering such Priority Non-Tax Claim Unimpaired. Any Allowed Class 1 Claim not due and
 5   owing on the Effective Date shall be paid in full, in Cash, when it becomes due and owing.
 6                  (c)     Impairment and Voting. Class 1 is Unimpaired. Holders of Priority Non-Tax
 7   Claims in Class 1 are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
 8   of the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject the Plan.
 9          4.2     U.S. Secured Claims (Class 2).

10                  (a)     Classification. Class 2 consists of all U.S. Secured Claims.
11                  (b)     Treatment. Except to the extent that a holder of an Allowed U.S. Secured
12   Claim agrees to less favorable treatment or makes a Trust Election, on the Effective Date or as soon
13   thereafter as practicable, each holder of an Allowed U.S. Secured Claim shall receive, at the option
14   of the Debtor and in full and complete settlement, release, and discharge of, and in exchange for,
15   such U.S. Secured Claim (i) payment in full in Cash, (ii) delivery of the Collateral securing any
16   such U.S. Secured Claim, (iii) reinstatement pursuant to section 1124 of the Bankruptcy Code, or
17   (iv) other treatment rendering such U.S. Secured Claim Unimpaired.
18                  (c)     Impairment and Voting. Class 2 is Unimpaired. Holders of U.S. Secured
19   Claims in Class 2 are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
20   of the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject the Plan.
21          4.3     China Secured Claims (Class 3)

22                  (a)     Classification. Class 3 consists of all China Secured Claims.
23                  (b)     Treatment. Except to the extent that a holder of an Allowed China Secured
24   Claim agrees to less favorable treatment, on the Effective Date or as soon thereafter as practicable,
25   each holder of an Allowed China Secured Claim shall receive, at the option of the Debtor and in
26   full and complete settlement, release, and discharge of, and in exchange for, such Allowed China
27   Secured Claim (i) the proceeds of the sale or disposition of the Collateral securing such Allowed
28   China Secured Claim in accordance with applicable law, to the extent of the value of such holder’s

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 1   secured interest in such Collateral, (ii) other treatment rendering such Allowed China Secured
 2   Claim Unimpaired, or (iii) such other treatment as may be mutually agreed to by and among such
 3   holder and the Debtor or the Reorganized Debtor, as applicable; provided, however that if the holder
 4   of an Allowed China Secured Claim has not received the value of the Collateral securing its
 5   Allowed China Secured Claim on or before the initial Trust Distribution Date, such Allowed China
 6   Secured Claim shall be treated as a Debt Claim for all purposes under this Plan.
 7                  (c)     Impairment and Voting. Class 3 is Unimpaired. Holders of China Secured
 8   Claims in Class 3 are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
 9   of the Bankruptcy Code, and accordingly, are not entitled to vote to accept or reject the Plan.
10          4.4     Debt Claims (Class 4).

11                  (a)     Classification. Class 4 consists of all Debt Claims.
12                  (b)     Treatment. Except to the extent that a holder of an Allowed Debt Claim
13   agrees to less favorable treatment, each holder of an Allowed Debt Claim shall receive, in full and
14   complete settlement, release, and discharge of, and in exchange for, such Allowed Debt Claim, its
15   pro rata share of the Trust Interests based on its Debt Claim Allocation Amount in relation to the
16   aggregate Debt Claim Allocation Amounts of all Allowed Debt Claims, which distribution shall
17   be made in accordance with Article 6.2 of the Plan.
18                  (c)     Impairment and Voting. Class 4 is Impaired. Holders of Debt Claims in
19   Class 4 are entitled to vote to accept or reject the Plan.
20                                      ARTICLE V
                            ACCEPTANCE OR REJECTION OF THE PLAN
21
            5.1     Class Acceptance Requirement.
22
            Pursuant to section 1126(c) of the Bankruptcy Code, and except as otherwise provided in
23
     section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims shall have accepted the Plan
24
     if it is accepted by at least two thirds (2/3) in dollar amount and more than one-half (1/2) in number
25
     of holders of the Allowed Claims in such Class that have voted on the Plan.
26
            5.2     Deemed Acceptance by Non-Voting Classes.
27
            If a Class contains Claims eligible to vote and no holder of a Claim eligible to vote in such
28

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 1   Class votes to accept or reject the Plan, the Plan shall be deemed accepted by such Class.
 2          5.3     Elimination of Vacant Classes.

 3          Any Class of Claims that does not have at least one holder of an Allowed Claim or a Claim
 4   temporarily Allowed as of the date of the Confirmation Hearing shall be deemed eliminated from
 5   the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
 6   acceptance or rejection of the Plan pursuant to section 1129(a)(8) of the Bankruptcy Code.
 7                                     ARTICLE VI
                          MEANS FOR IMPLEMENTATION OF THE PLAN
 8
            6.1     Compromise of Controversies.
 9
            In consideration for the Plan Distributions, releases, and other benefits provided under the
10
     Plan, upon the Effective Date, the provisions of the Plan constitute a good faith compromise and
11
     settlement of all Claims and controversies relating to any Allowed Claim or any Plan Distribution
12
     to be made on account thereof or otherwise resolved under the Plan.
13
            The Plan shall be deemed a motion to approve the good faith compromise and settlement
14
     of all such Claims and controversies pursuant to Bankruptcy Rule 9019, and the entry of the
15
     Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and
16
     settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a
17
     finding by the Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable,
18
     and in the best interests of the Debtor and his Estate. All Plan Distributions made in accordance
19
     with the Plan are intended to be, and shall be, final.
20
            6.2     The Trust.
21
            Each holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim shall receive a
22
     beneficial interest (a “Trust Interest”) in the Creditor Trust or the Late Filed Debt Claims Reserve,
23
     as applicable, based on the Debt Claim Allocation Amount of such Claim. The Trust will preserve,
24
     hold, manage, and maximize the Trust Assets for use in paying and satisfying the holders’ Claims
25
     upon the earlier to occur of (x) the consummation of a Liquidation Event or a Distribution Event
26
     and (y) the termination of the Trust in accordance with the Trust Agreement.
27
                    (a)     Corporate Structure and Governance.
28

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 1          On the Effective Date, the managing member of Pacific Technology shall amend the PT
 2   LLCA to:
 3                          (i)     provide that the Trust is a member of Pacific Technology and the
 4                                  holder of 100% of the preferred membership units of Pacific
 5                                  Technology (the “Preferred PT Units”);
 6                          (ii)    issue new units of Pacific Technology to the Trust (the “New PT
 7                                  Units”), entitling the Trust to 100% of the economic value of
 8                                  147,058,823 Class B shares of FF Intelligent (the “Trust FF
 9                                  Intelligent Shares”); and
10                          (iii)   grant the Trust a fully paid-up warrant to receive the Trust FF
11                                  Intelligent Shares consistent with the FF Intelligent Transfer Right
12                                  with no further action necessary by the Debtor or Reorganized
13                                  Debtor, exercisable upon the dissolution of the Injunctions (the
14                                  “Warrant”).
15          The Preferred PT Units and the New PT Units shall vest in the Trust free and clear of any
16   and all Liens, claims, encumbrances, contractual restrictions, and other interests pursuant to section
17   363 of the Bankruptcy Code; provided that the Preferred PT Units and the New PT Units shall be
18   subject to the PT LLCA as amended on the Effective Date pursuant to, and consistent in all material
19   respects with, the Plan Term Sheet and the Plan. For so long as the Preferred PT Units are
20   outstanding, Pacific Technology and its managing member shall be prohibited from amending the
21   PT LLCA in any manner that adversely affects the rights and claims provided to the Trust as set
22   forth in the Plan and the Plan Term Sheet.
23          Upon the dissolution of the Injunctions, the Trustee may exercise the Warrant and direct FF
24   Top to transfer the Trust FF Intelligent Shares directly to the Trust pursuant to the FF Intelligent
25   M&A, provided that the Trustee shall exercise the Warrant no later than in connection with the
26   IPO. Upon the indefeasible transfer of the Trust FF Intelligent Shares to the Trust pursuant to the
27   Warrant, the New PT Units shall be deemed retired.
28                  (b)     Trust Assets.

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 1          The assets of the Trust shall consist of the following property of the Debtor on the Effective
 2   Date (collectively, the “Trust Assets”):
 3                          (i)     100% of the Preferred PT Units;
 4                          (ii)    100% of the New PT Units;
 5                          (iii)   the Warrant;
 6                          (iv)    following the exercise of the Warrant and the indefeasible transfer of
 7                                  the Trust FF Intelligent Shares to the Trust, the Trust FF Intelligent
 8                                  Shares;
 9                          (v)     all financial assets of the Debtor (i.e., accounts, security, or real
10                                  property) wherever located, whether owned directly or through any
11                                  nominee, including, but not limited, to any Seized China Assets of
12                                  the Debtor in existence as of the Effective Date and remaining after
13                                  the satisfaction of any claims recoverable from such assets under
14                                  applicable law but excluding (x) any exempt assets of the Debtor
15                                  under section 522 of the Bankruptcy Code, (y) income of the Debtor
16                                  after the Petition Date listed on Schedule J of the Schedules, or (z) the
17                                  Debtor’s rental agreements with Warm Time Inc. and any income
18                                  derived from such rental agreements, or the proceeds thereof,
19                                  provided that the inclusion of such assets in the Trust does not
20                                  include the right to assert (A) any YT Claims except as set forth in
21                                  Article 11.4 (c) of the Plan and (B) Causes of Action of the Debtor’s
22                                  estate except for those expressly permitted in Article 11.9 of the Plan;
23                          (vi)    all interests, claims, and Causes of Action owned by the Debtor
24                                  (including through any nominee) in connection with Beijing
25                                  Dongfang Cheyun Information Technology Co., Ltd. in existence as
26                                  of the Effective Date (the “Yidao Claims”);
27                          (vii)   the rights to recover property in accordance with Article 11.9 of the
28                                  Plan and all proceeds thereof;

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 1                          (viii) the Call Option, subject to certain rights of FF GP as set forth
 2                                 below in Article 6.2(l) of the Plan, which Call Option may not be
 3                                 exercised or transferred by the Trust without the consent of FF GP;
 4                          (ix)   the proceeds of the Exit Financing; and
 5                          (x)    the Debtor’s interests in Ford Field.
 6                  (c)     Voting Rights With Respect to the Trust Assets.
 7          The Trustee shall exercise all voting rights, if any, with respect to the Trust FF Intelligent
 8   Shares owned by the Trust after the exercise of the Warrant. Prior to the occurrence of an IPO,
 9   (i) the Trustee will have observer rights regarding the committee meetings held by the committee
10   of managers of FF GP and (ii) the Reorganized Debtor will use commercially reasonable efforts to
11   provide the Trustee with observer rights with respect to the boards of FF Intelligent, FF, FF Inc., a
12   California corporation, and all other material, direct or indirect, operating subsidiaries of FF
13   Intelligent that hold separate board meetings.
14                  (d)     Late Filed Debt Claims Reserve.
15          On the Effective Date, the Trustee shall (i) establish the Late Filed Debt Claims Reserve for
16   the benefit of any Allowed Late Filed Debt Claims and (ii) transfer 10% of the Trust Assets to the
17   Late Filed Debt Claims Reserve. The Late Filed Debt Claims Reserve will have no operations other
18   than to make distributions to holders of Allowed Late Filed Debt Claims in accordance with the
19   Trust Agreement and will be managed by the Trustee pursuant to a separate trust agreement with
20   substantially similar governance terms as the Trust Agreement. At the conclusion of the Standstill
21   Period, any unallocated assets in the Late Filed Debt Claims Reserve shall revert to the Creditor
22   Trust for the ratable benefit of holders of Allowed Debt Claims and the Reorganized Debtor
23   pursuant to the Distribution Waterfall.
24          In order for a Late Filed Debt Claim to be Allowed and participate in the Late Filed Debt
25   Claims Reserve, the Reorganized Debtor and the Trustee shall make commercially reasonable
26   efforts to agree that allowance of such Late Filed Debt Claim in a particular amount is in the best
27   interests of the Reorganized Debtor and the Trust. If the Reorganized Debtor and the Trustee do
28   not agree to the allowance or amount of any Late Filed Debt Claim, the dispute shall be resolved

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 1   pursuant to the Plan Arbitration Procedures. In seeking the allowance of any Late Filed Debt Claim,
 2   the Reorganized Debtor shall bear the burden of demonstrating that allowance of such Late Filed
 3   Debt Claim is in the best interests of the Reorganized Debtor and the Trust.
 4                  (e)     Appointment of the Trustee.
 5          There shall be one trustee (the “Trustee”) of the Trust. The initial Trustee shall be disclosed
 6   in the Disclosure Statement. Any successor Trustee shall be selected by majority vote of the
 7   Creditor Trust Committee, subject to approval by the Reorganized Debtor (which approval shall
 8   not be unreasonably withheld), in accordance with the Trust Agreement, which shall set forth
 9   certain criteria with respect to the relevant experience and qualifications for the Trustee.
10          The Trustee shall act as a fiduciary and shall not be personally liable in connection with the
11   affairs of the Trust or to any person except for such of the Trustee’s acts or omissions that constitute
12   fraud, willful misconduct, or gross negligence, as determined by a final order of a court of
13   competent jurisdiction. In addition, the Trustee shall be indemnified by the Trust against and held
14   harmless by the Trust from any losses, claims, damages, liabilities, or expenses (including, without
15   limitation, attorneys’ fees, disbursements, and related expenses) to which the Trustee may become
16   subject in connection with any action, suit, proceeding, or investigation brought or threatened
17   against the Trustee in connection with any matter arising out of or related to the Trust Agreement
18   or the affairs of the Trust (other than in respect of acts or omissions that constitute fraud, willful
19   misconduct, or gross negligence, as determined by a court of competent jurisdiction). The Trustee
20   shall be entitled to obtain customary fiduciary and/or errors and omissions liability insurance and
21   engage independent legal counsel and financial advisors to assist with its evaluation of any matters
22   with respect to the Trust, including any Liquidation Event.
23          The Trustee shall be compensated by the Trust from Trust Assets pursuant to the Trust
24   Agreement. The Trustee shall be entitled to reimburse itself out of any available cash in the Trust,
25   for its actual out-of-pocket expenses and shall be indemnified by the Trust from Trust Assets
26   against and from any and all loss, liability, expense, or damage, which the Trustee may sustain in
27   good faith and without willful misconduct, gross negligence, or fraud in the exercise and
28   performance of any of the powers and duties of the Trustee under the Trust Agreement.

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 1          The Trustee may resign upon not less than sixty (60) days’ advance written notice to the
 2   Creditor Trust Committee, with such resignation to take effect once a replacement Trustee has been
 3   appointed. The Creditor Trust Committee may remove the Trustee in the event the Trustee commits
 4   any act or omission that constitutes fraud, breach of fiduciary duty, willful misconduct, or gross
 5   negligence. Upon the removal of the Trustee as set forth in the immediately preceding sentence,
 6   the Creditor Trust Committee shall have the right to appoint a replacement Trustee, subject to
 7   approval by the Reorganized Debtor (which approval shall not be unreasonably withheld).
 8                  (f)    Creditor Trust Committee.
 9          Holders of Trust Interests will be represented by a committee that shall consist of no more
10   than five creditors holding Allowed Debt Claims, or their designees (the “Creditor Trust
11   Committee”), the responsibilities and governance of which are set forth in the Plan Term Sheet.
12   The initial members of the Creditor Trust Committee must be acceptable to the Committee and will
13   be disclosed in the Plan Supplement.
14                  (g)    Term of the Trust.
15          The term of the Trust (the “Term”) will initially extend until the fifth (5th) anniversary of
16   the Effective Date (the “Initial Term”). The Term shall not extend beyond the tenth (10th)
17   anniversary of the Effective Date unless the Chapter 11 Case is reopened to obtain a Bankruptcy
18   Court order extending the Term.
19          If the completion of an IPO occurs during the Initial Term, the Term and the Standstill
20   Period shall be automatically extended through the conclusion of the selloff period for the
21   Marketable Securities as set forth on Exhibit B to the Plan Term Sheet. If the completion of the
22   IPO has not occurred during the Initial Term, the Trustee may elect to extend the Term for
23   successive one-year periods (or such other periods as the Trustee determines to be appropriate) to
24   the extent necessary to allow for orderly liquidation of any remaining Trust Assets.
25          The Trustee shall dissolve and wind up the Trust and distribute the Trust Assets upon the
26   expiration of (i) the Initial Term if no extension (automatic or otherwise) is exercised or (ii) the
27   expiration of any extended Term of the Trust. The Trustee may dissolve the Trust before the end
28   of the Initial Term or any extended Term if: (x) all of the Trust Assets have been distributed in

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 1   accordance with the Distribution Waterfall, including any distributions to the Reorganized Debtor
 2   or (y) a Liquidation Event has occurred. Upon termination of the Trust, the Trustee will obtain a
 3   valuation of the Trust Assets as of the termination date (performed by an independent valuation
 4   firm selected by the Trustee and approved by the Creditor Trust Committee and the Reorganized
 5   Debtor) and shall, as promptly as practicable following the completion of the independent
 6   valuation, distribute the Trust Assets in kind to the holders of Allowed Debt Claims and the
 7   Reorganized Debtor in accordance with the Distribution Waterfall.
 8          Certain aspects of the Trust will be subject to automatic amendment based on aggregate
 9   distributions as set forth in the Distribution Waterfall.
10                   (h)    Expenses of the Trust.
11          The professional fees, costs, and other expenses incurred by the Trustee in connection with
12   the administration of the Trust shall be paid from the proceeds of the Exit Financing and the relevant
13   Trust Assets.
14                   (i)    Distribution of Trust Assets.
15          Upon receipt of the distributable proceeds by the Trust for any disposition, or dividends or
16   distributions in respect, of any Trust Assets (such proceeds, the “Distributable Proceeds,” such an
17   event, a “Distribution Event,” and the date of such distribution, a “Trust Distribution Date”), the
18   Distributable Proceeds will be distributed in accordance with the Distribution Waterfall upon the
19   earlier of (i) sixty (60) days following the occurrence of such Distribution Event and (ii) the
20   termination of the Trust. The Trustee may delay or defer the distribution of any Distributable
21   Proceeds (whether cash, securities, or other property) received by the Trustee in respect of the Trust
22   Assets if the Trustee determines that such deferral or delay is in the best interests of the holders of
23   Trust Interests (including if such distribution would violate any court order or applicable law).
24          Prior to each Trust Distribution Date, each holder of a Trust Interest shall provide an
25   affidavit to the Trustee that identifies any amounts (or value with respect to Collateral) received
26   from Other Distributions as of the date of the affidavit (the “Trust Distribution Affidavit”). On each
27   Trust Distribution Date, the Trustee will (i) allocate pro rata distributions to holders of Trust
28   Interests on account of each holder’s Debt Claim Distribution Amount calculated in accordance

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 1   with the information provided in the Trust Distribution Affidavit and (ii) reserve distributions for
 2   holders of Trust Interests who have not submitted their Trust Distribution Affidavits prior to the
 3   applicable Trust Distribution Date. If the holder of a Trust Interest fails to submit the Trust
 4   Distribution Affidavit prior to the termination or dissolution of the Trust, such holder shall forfeit
 5   its Trust Interests and any reserved distributions shall revert to the Trust for the ratable benefit of
 6   holders of Allowed Debt Claims and the Reorganized Debtor pursuant to the Distribution Trust
 7   Waterfall.
 8           The schedule for disposition of shares of FF Intelligent directly owned by the Trust and that
 9   are registered under securities law or listed (the “Marketable Securities”) shall be governed in
10   accordance with Exhibit B to the Plan Term Sheet. The PT LLCA will include provisions that the
11   managing member of Pacific Technology will use commercially reasonable efforts to dispose of
12   Marketable Securities owned or controlled by Pacific Technology in which the Trust owns a
13   beneficial interest on a similar schedule until the priority distribution of $815.7 million (plus
14   accrued amounts) under the PT LLCA in connection with the Preferred PT Units is paid to the
15   Trust. The Distributable Proceeds shall be distributed in accordance with the Distribution Waterfall.
16           At any time upon the request of the managing member of Pacific Technology, and subject
17   to applicable securities law, the Trustee shall distribute the Marketable Securities in kind to the
18   holders of Trust Interests in lieu of any cash distribution. The value of the Marketable Securities
19   shall be the average closing trading price for the five consecutive trading days immediately prior
20   to the distribution.
21                   (j)    Distribution Waterfall.
22           The Trust Assets shall be distributed as follows:
23                          (i)     First, to repay the Exit Financing, if any, pursuant to the terms thereof
24                                  and the Trust Agreement;
25                          (ii)    Second, to repay the DIP Facility if extended past the Effective Date
26                                  pursuant to the terms of the DIP Note and the Trust Agreement;
27                          (iii)   Third, to each holder of an Administrative Expense Claim, Priority
28                                  Tax Claim, Priority Non-Tax Claim, or U.S. Secured Claim that has

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 1                                      made a Trust Election, equal to the Allowed amount of such Claim
 2                                      plus the applicable interest rate provided in the Trust Agreement;
 3                             (iv)     Fourth, to pay Trust Distributions allocated (x) 95% to holders of
 4                                      Allowed Debt Claims (including holders of Allowed China Secured
 5                                      Claims treated as Allowed Debt Claims pursuant to Article 4.3 of the
 6                                      Plan) and (y) 5% to the Reorganized Debtor (or the economic
 7                                      equivalent of such Trust Distributions as set forth in the Trust
 8                                      Agreement), until each holder of an Allowed Debt Claim has
 9                                      received aggregate Trust Distributions (in cash or in kind) pursuant
10                                      to this clause (iv) equal to the full amount of such holder’s Debt
11                                      Claim Distribution Amount; and
12                             (v)      Fifth, after all holders of Allowed Debt Claims (including holders of
13                                      Allowed China Secured Claims treated as Allowed Debt Claims
14                                      pursuant to Article 4.3 of the Plan) have received Trust Distributions
15                                      equal to their respective Debt Claim Distribution Amounts, any
16                                      remaining Trust Distributions shall be allocated between the holders
17                                      of Allowed Debt Claims, including holders of Allowed China
18                                      Secured Claims treated as Allowed Debt Claims pursuant to Article
19                                      4.3 of the Plan, (to be further allocated pro rata based on their
20                                      respective Debt Claim Allocation Amounts) and the Reorganized
21                                      Debtor, as follows:
22                                                The Reorganized                Holders of Allowed Debt
                                                  Debtor                         Claims
23       Amounts less than $1B                    50%                            50%
         Amounts greater than $1B < $2B3          70%                            30%
24       Amounts greater than $2B < $3B           80%                            20%
         Amounts greater than $3B < $4B           90%                            10%
25       Amounts greater than $4B4                95%                            5%
26
     3
      Upon reaching such distribution level, the Trust Agreement will be automatically amended to replace the Creditor
27   Trust Committee with the Reorganized Debtor.
     4
      Upon reaching such distribution level, the Trust Agreement will be automatically amended to provide for a separation
28   of the Reorganized Debtor’s interests in the Trust from the residual 5% interest of holders of Allowed Debt Claims.

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 1                     (k)      Future Equity Incentive Plan.
 2            In order to align incentives and reward the Reorganized Debtor for achieving FF’s strategic
 3   goals, it is anticipated that a management incentive equity plan will be adopted to grant certain
 4   stock-based awards to or at the direction of the Reorganized Debtor upon the achievement of
 5   financial targets upon a Distribution Event, provided that the stock-based awards granted to the
 6   Reorganized Debtor shall not exceed the awards set forth below without the consent of the Trustee
 7   (which consent shall not be unreasonably withheld) (the “Future Equity Incentive Plan”). The total
 8   available equity awards under the Future Equity Incentive Plan will be as follows:
 9       FF Intelligent Total Equity Value                        $5,000               $10,000               $21,000
                 (millions of USD):
10    Percentage of equity to be issued                               2%           Additional 3%         Additional 3%
11            Nothing in the Plan shall be construed as to prohibit or restrict in any manner any subsequent
12   equity investment or equity incentive in FF Intelligent or any of its subsidiaries by any person;
13   provided that in no event shall any equity incentive program adopted by FF Intelligent or any other
14   direct or indirect subsidiary of Pacific Technology grant the Reorganized Debtor any equity interest
15   greater than, or on terms more favorable than, the above equity awards without the consent of the
16   Trustee (which consent shall not be unreasonably withheld).
17                     (l)      Call Option.
18            Upon the occurrence of the Effective Date, the Call Option shall vest in the Trust free and
19   clear of any and all liens, claims, encumbrances, contractual restrictions, and other interests
20   pursuant to section 363 of the Bankruptcy Code, provided that the Plan shall require (i) the Trustee
21   to obtain the consent of the Partner Executive Committee prior to any exercise or transfer of the
22   Call Option by the Trust; and (ii) the Trustee, upon request by FF GP, to directly transfer or transfer
23   the underlying economic rights of the Call Option (including by exercising the Call Option and
24   thereafter conveying the related shares in FF Intelligent to the applicable counterparty) as requested
25   by FF GP in connection with a bona fide unrelated third-party financing, as follows: (x) 50% of the
26   Call Option to the counterparty to a bona fide unrelated third-party financing providing FF
27   After such separation, holders of Allowed Debt Claims shall not receive any distribution from the Reorganized Debtor’s
     interests constituting 95% of amounts greater than $4 billion. The Reorganized Debtor shall not receive any distribution
28   from the residual 5% interest of holders of Allowed Debt Claims.

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 1   Intelligent and its subsidiaries with not less than $100 million of net proceeds, (y) 100% of the Call
 2   Option to the counterparty to a bona fide unrelated third-party financing providing FF Intelligent
 3   and its subsidiaries with not less than $250 million of net proceeds, or (z) a ratable percentage of
 4   the Call Option to the counterparty to a bona fide unrelated third-party financing providing FF
 5   Intelligent and its subsidiaries with net proceeds greater than $100 million and less than $250
 6   million (i.e., an additional 1% of the Call Option for each additional $3 million of net proceeds
 7   beyond $100 million) ((x), (y), or (z), a “Qualifying Financing”), provided that FF GP may request
 8   the Trustee to transfer the Call Option for a financing of FF Intelligent and its subsidiaries other
 9   than a Qualifying Financing subject to the consent of Trustee and approval by a majority of the
10   Creditor Trust Committee in their respective business judgment. Any consideration paid, if any, in
11   exchange for the transfer of the Call Option either as part of a separate transaction providing for
12   such transfer or attributable to the transfer of the Call Option in a financing transaction, whether in
13   conjunction with a Qualifying Financing or otherwise, shall be paid directly to the Trust and shall
14   constitute Trust Assets.
15                  (m)       FF Information.
16          The Trustee shall be provided certain information set forth in the Plan Term Sheet on a
17   confidential, professional eyes only basis, which information the Trustee may share on a
18   confidential and aggregated basis with the Creditor Trust Committee.
19          6.3     Exit Financing.

20          On the Effective Date, without the need for further action, the Trust shall enter into the Exit
21   Financing on terms and conditions acceptable to the Committee and the Debtor.
22          6.4     Sources of Cash for Plan Distributions.

23          Except as otherwise provided in the Plan or Confirmation Order, all Cash required for
24   payments to be made hereunder shall be obtained pursuant to the Debtor’s and Reorganized
25   Debtor’s Cash balances (including any remaining proceeds from the DIP Facility), and the proceeds
26   of the Exit Financing.
27          6.5     Cancellation of Liens.

28          Except as provided otherwise in the Plan, on the Effective Date and concurrently with the

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 1   applicable distributions made pursuant to the Plan, all Liens on assets located in the United States
 2   that secure any U.S. Secured Claim shall be fully released, settled, discharged, and compromised
 3   and all rights, titles, and interests of any holder of such mortgages, deeds of trust, Liens, pledges,
 4   or other security interests against any property of the Estate shall revert to the Reorganized Debtor
 5   and his successors and assigns, and the holder of such U.S. Secured Claim shall be authorized and
 6   directed, at the sole cost and expense of the Reorganized Debtor, to release any Collateral or other
 7   property of the Debtor (including any cash collateral and possessory collateral) held by such holder,
 8   and to take such actions as may be reasonably requested by the Reorganized Debtor to evidence
 9   the release of such Lien, including the execution, delivery, and filing or recording of such releases.
10   The filing of the Confirmation Order with any federal, state, provincial, or local agency or
11   department shall constitute good and sufficient evidence of, but shall not be required to effect, the
12   termination of such Liens.
13          6.6     Wei Gan Settlement.

14          Pursuant to Bankruptcy Rule 9019, the Debtor, Wei Gan, and the Committee have settled
15   all Claims of the Debtor’s wife, Wei Gan, against the Debtor and all of the Debtor’s claims against
16   Wei Gan (the “Wei Gan Settlement”); provided, however, that pursuant to the divorce proceeding
17   pending in the People’s Court of Chaoyang District, Beijing, China Wei Gan and the Debtor’s three
18   minor children may be awarded child support (the “Wei Gan Domestic Support Obligations”),
19   which obligations shall be satisfied in accordance with Article 2.4 of the Plan. In exchange for, and
20   subject to (a) a Cash contribution from Wei Gan in the amount of $1,000,000 to the Trust on the
21   Effective Date, which shall constitute Trust Assets (the “Effective Date Wei Gan Payment”), (b) a
22   Cash payment of $250,000 to the Trust no later than ninety (90) days after the Effective Date (the
23   “Second Wei Gan Payment”), (c) Wei Gan’s agreement not to assert any other prepetition or
24   postpetition Claims against the Debtor (excluding the Wei Gan Domestic Support Obligations) or
25   the Trust, and (d) execution of the Wei Gan Declaration (collectively, (a), (b), (c), and (d) are the
26   “Wei Gan Release Consideration”), the following shall occur:
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 1                  (a)     Upon the Effective Date Wei Gan Payment, (i) the China Debtor Covenant
 2   shall apply to Wei Gan; and (ii) Wei Gan’s alleged Debt Claim against the Debtor [Claim No.
 3   20004] shall be treated as an Allowed Debt Claim in the amount of $250,000,000.
 4                  (b)     Upon the Second Wei Gan Payment, (the date upon which the foregoing
 5   condition occurs is the “Wei Gan Liability Release Date”), each holder of an (i) Allowed Late Filed
 6   Debt Claim, on the date of allowance of such Late Filed Debt Claim or (ii) Allowed Debt Claim
 7   (x) shall, in addition to the discharge of community claims under section 524(a) of the Bankruptcy
 8   Code, be deemed to have released any Causes of Action against Wei Gan for personal liability or
 9   derivatively in its capacity as a creditor of a claim owed solely or jointly by Wei Gan (including
10   unwinding or alter ego type claims) in any jurisdiction (the “Wei Gan Claims”) on account of such
11   Debt Claim or Late Filed Debt Claim to the maximum extent permitted by applicable law and
12   (y) agrees that it shall not assert any new, or continue to prosecute any existing, Wei Gan Claims
13   related to such Debt Claim or Late Filed Debt Claim in every jurisdiction.
14          Within ninety (90) days after the Wei Gan Liability Release Date with respect to an Allowed
15   Debt Claim or the date of allowance of an Allowed Late Filed Debt Claim, each holder of an
16   Allowed Debt Claim or Allowed Late Filed Debt Claim shall (as a condition to receiving further
17   Trust Distributions, including any Trust Distributions upon the termination or dissolution of the
18   Trust) (a) withdraw or retract any litigations, enforcement actions, arbitrations, and any other
19   proceedings against Wei Gan from the courts and judicial authorities in all jurisdictions, including,
20   but not limited to, the Chinese Courts, or confirm with the judicial authorities that Wei Gan has
21   settled all of her debt obligations or legal responsibilities to such holder and (b) file and execute
22   any documents requested by Wei Gan to evidence the above release. Wei Gan reserves all rights to
23   seek enforcement by the Chinese judicial authorities of the rights provided herein.
24          In connection with the releases described in this Article 6.6, each holder of an Allowed
25   Debt Claim and/or Allowed Late Filed Debt Claim shall waive all rights conferred by the
26   provisions of section 1542 of the California Civil Code and/or any similar state or federal law.
27   Section 1542 of the California Civil Code provides as follows: “A GENERAL RELEASE
28   DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR

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 1   SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE
 2   RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
 3   AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”
 4          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 5   pursuant to Bankruptcy Rule 9019, of the releases described in this Article 6.6, which includes
 6   by reference each of the related provisions and definitions contained in the Plan, and further,
 7   shall constitute its finding that each release described in Article 6.6 is: (a) in exchange for the
 8   good and valuable consideration provided by Wei Gan, a good faith settlement and
 9   compromise of such claims; (b) in the best interests of the Debtor and all holders of Claims;
10   (c) fair, equitable, and reasonable; (d) given and made after due notice and opportunity for
11   hearing; and (e) except as otherwise provided in the Plan, a bar to any holder of an Allowed
12   Debt Claim or Allowed Late Filed Debt Claim asserting any Claim, Cause of Action, or
13   liability related thereto, of any kind whatsoever, against Wei Gan.
14          6.7     Declarations.

15          On or before the Effective Date, the Debtor and Wei Gan, as applicable, shall execute
16   declarations, in form and substance reasonably acceptable to the Committee, regarding the below
17   representations (respectively, the “YT Declaration” and the “Wei Gan Declaration” and
18   collectively, the “Declarations”):
19          (a) The Debtor owns 100% of the issued and outstanding economic interests in West Coast
20   LLC (“West Coast”) through a nominee, Lian Bossert.
21          (b) The sole asset of West Coast is 100% of the Preferred PT Units of Pacific Technology,
22   which comprise 20% of the currently issued and outstanding membership interests of Pacific
23   Technology.
24          (c) Pacific Technology is the sole owner of FF Peak.
25          (d) FF Peak is the sole owner of FF Top.
26          (e) FF Top owns 40.8% of the issued and outstanding Class B shares of FF Intelligent
27   (the “FF Intelligent Shares”).
28          (f) The Debtor has a contractual right to direct Pacific Technology to direct FF Peak to

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 1   direct FF Top to transfer the Trust FF Intelligent Shares to the Trust.
 2            (g) Pursuant to Section 16 of the PT LLCA, the Preferred PT Units entitle West Coast to
 3   receive certain distributions of capital from Pacific Technology from time to time (the “Preferred
 4   Unit Distribution Rights”),5 consisting of (1) a priority distribution of up to $815.7 million, plus
 5   interest at 8% per annum, after the return of capital to the management (plus 8% interest per annum)
 6   but before any other capital is distributed from Pacific Technology, plus (2) a special distribution
 7   of 10% of all remaining distributions of capital from Pacific Technology, plus (3) its pro rata share
 8   (i.e., 20%) of all remaining distributions of capital from Pacific Technology.
 9            (h) The Debtor owns the Call Option pursuant to the Restructuring Agreement, entitling the
10   Debtor to purchase Season Smart’s shares in FF Intelligent under certain circumstances.
11            (i) The Debtor is the sole owner of Ford Field.
12            (j) The Debtor and Wei Gan own no direct or indirect ownership interests in (including
13   through any nominee, trust, or similar arrangement), do not directly or indirectly control, and do
14   not hold a beneficial interest in any of the entities listed on Schedule D attached hereto, or any of
15   their respective parent companies or subsidiaries.
16                                                  ARTICLE VII
                                                 PLAN DISTRIBUTIONS
17
              7.1      Plan Distributions.
18
              The Debtor shall make all Plan Distributions to the appropriate holders of Allowed Claims
19
     in accordance with the terms of the Plan.
20
              7.2      Allocation of Plan Distributions Between Principal and Interest.
21
              The aggregate consideration to be distributed to the holders of Allowed Claims under the
22
     Plan shall be treated as first satisfying an amount equal to the stated principal amount of the
23
     Allowed Claims of such holders, as determined for federal income tax purposes, and any remaining
24
     consideration as satisfying accrued, but unpaid, interest, if any.
25

26

27
     5
      The description of the Preferred Unit Distribution Rights in the Plan is not intended to limit the actual terms of Section
28   16 of the PT LLCA.

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 1          7.3     No Postpetition Interest on Claims.
 2          Other than as specifically provided in the Plan, Confirmation Order, or other order of the
 3   Bankruptcy Court, or required by applicable bankruptcy or non-bankruptcy law, postpetition
 4   interest shall not accrue or be paid on any prepetition Claim, and no holder of a prepetition Claim
 5   shall be entitled to interest accruing on such Claim on or after the Petition Date.
 6          7.4     Date of Plan Distributions.
 7          Except as otherwise provided herein, any distributions and deliveries to be made under the
 8   Plan shall be made on the Effective Date or as soon as practicable thereafter. In the event that any
 9   payment or act under the Plan is required to be made or performed on a date that is not a Business
10   Day, the making of such payment or the performance of such act may be completed on the next
11   succeeding Business Day, but shall be deemed to have been completed as of the required date.
12          7.5     Distribution Record Date.
13          As of the close of business on the Distribution Record Date, the various lists of holders of
14   Claims in each of the Classes, as maintained by the Debtor, shall be deemed closed and there shall
15   be no further changes in the record holders of any of the Claims after the Distribution Record Date.
16   The Debtor shall have no obligation to recognize any transfer of Claims occurring after the close
17   of business on the Distribution Record Date. The Debtor and the Reorganized Debtor, as applicable,
18   shall be entitled to recognize and deal for all purposes hereunder only with those holders stated on
19   the transfer ledgers as of the close of business on the Distribution Record Date, to the extent
20   applicable.
21          7.6     Delivery of Plan Distribution.
22          Subject to the provisions contained in this Article VII and subject to Bankruptcy Rule 9010,
23   the Debtor shall make all Plan Distributions or payments to any holder of an Allowed Claim as and
24   when required by the Plan at: (a) the address of such holder on the books and records of the Debtor
25   or his agents; or (b) the address in any written notice of address change delivered to the Debtor,
26   including any addresses included on any filed proofs of Claim or transfers of Claim filed with the
27   Bankruptcy Court. In the event that any Plan Distribution to any holder is returned as undeliverable,
28   no distribution or payment to such holder shall be made unless and until the Debtor has been

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 1   notified of the then current address of such holder, at which time or as soon as reasonably
 2   practicable thereafter such Plan Distribution shall be made to such holder without interest;
 3   provided, however, such Plan Distributions or payments shall be deemed unclaimed property under
 4   section 347(b) of the Bankruptcy Code at the expiration of one year from the Effective Date.
 5          7.7     Unclaimed Property.

 6          Except with respect to the Trust Interests held in the Trust, one year from the later of: (a) the
 7   Effective Date, and (b) the date that a Claim is first Allowed, all unclaimed property or interests in
 8   property distributable hereunder on account of such Claim shall revert to the Reorganized Debtor
 9   or the successors or assigns of the Reorganized Debtor, and any claim or right of the holder of such
10   Claim to such property or interest in property shall be discharged and forever barred. The
11   Reorganized Debtor shall have no obligation to attempt to locate any holder of an Allowed Claim
12   other than by reviewing the Debtor’s books and records, the proofs of Claim filed against the
13   Debtor, as reflected on the claims register maintained by the Voting Agent, and any change of
14   address reflected on the docket of the Chapter 11 Case.
15          7.8     Satisfaction of Claims.

16          Unless otherwise provided herein, any Plan Distributions and deliveries to be made on
17   account of Allowed Claims hereunder shall be in complete settlement, satisfaction, and discharge
18   of such Allowed Claims.
19          7.9     Manner of Payment Under Plan.

20          Except as specifically provided herein, at the option of the Reorganized Debtor, any Cash
21   payment to be made hereunder may be made by a check or wire transfer or as otherwise required
22   or provided in applicable agreements or customary practices of the Debtor or the Reorganized
23   Debtor.
24          7.10    No Distribution in Excess of Amount of Allowed Claim.

25          Notwithstanding anything to the contrary herein, no holder of an Allowed Claim shall, on
26   account of such Allowed Claim, receive a Plan Distribution of a value in excess of the Allowed
27   amount of such Claim plus any postpetition interest on such Claim, to the extent such interest is
28   permitted by Article 7.3 of the Plan.

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 1          If on and after the date on which the claim of any holder of an Allowed Claim is paid in full
 2   in accordance with the terms of the Plan, any such Allowed Claim shall thereafter be deemed to be
 3   and in fact, paid in full in its entirety. Furthermore, to the extent any holder of an Allowed Claim
 4   has security or possession of any property or assets of the Debtor or any other Person or Entity,
 5   after such Claim is paid in full, such holder shall release and/or return any such property or assets
 6   to the Debtor or such other Person or Entity.
 7          In accordance with applicable law, if a holder of an Allowed Debt Claim (including an
 8   Allowed China Secured Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of the
 9   Plan) is paid in part in accordance with the terms of the Plan and such holder subsequently receives
10   Other Distributions, the maximum amount to be distributed to such holder on account of Other
11   Distributions will be equal to the amount of the Allowed Debt Claim less the partial payments that
12   have been made to such holder through the Trust.
13          7.11    Setoffs and Recoupments.

14                  (a)     Except as expressly provided in the Plan, the Reorganized Debtor may,
15   pursuant to section 553 of the Bankruptcy Code set off and/or recoup against any Plan Distributions
16   to be made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that
17   such Reorganized Debtor may hold against the holder of such Allowed Claim to the extent such
18   setoff or recoupment is either (i) agreed in amount among the Reorganized Debtor and the holder
19   of such Allowed Claim or (ii) otherwise adjudicated by the Bankruptcy Court or another court of
20   competent jurisdiction; provided, however, that neither the failure to effectuate a setoff or
21   recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by the
22   Reorganized Debtor or its successor of any and all claims, rights, and Causes of Action that the
23   Reorganized Debtor or its successor may possess against the applicable holder. For the avoidance
24   of doubt, nothing in the Plan shall affect the right of any holder of a Claim against the Debtor that
25   is evidenced by a timely filed proof of Claim to seek an order of the Bankruptcy Court authorizing
26   such holder to set off such Claim against any claim, right, or Cause of Action of the Debtor that
27   arose prior to the Petition Date.
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 1                  (b)     In no event shall any holder of Claims against the Debtor be entitled to
 2   recoup any such Claim against any claim, right, or Cause of Action of the Debtor or the Reorganized
 3   Debtor, as applicable, unless such holder actually has performed such recoupment and provided
 4   notice thereof in writing to the Debtor in accordance with Article 13.22 of the Plan on or before the
 5   Effective Date, notwithstanding any indication in any proof of claim or otherwise that such holder
 6   asserts, has, or intends to preserve any right of recoupment.
 7          7.12    Withholding and Reporting Requirements.

 8          In connection with the Plan and all Plan Distributions hereunder, the Reorganized Debtor
 9   shall comply with all withholding and reporting requirements imposed by any federal, state, local,
10   or foreign taxing authority, and all Plan Distributions hereunder shall be subject to any such
11   withholding and reporting requirements. The Reorganized Debtor shall be authorized to take any
12   and all actions that may be necessary or appropriate to comply with such withholding and reporting
13   requirements, including, without limitation, liquidating a portion of any Plan Distribution to
14   generate sufficient funds to pay applicable withholding taxes or establishing any other mechanisms
15   the Debtor or Reorganized Debtor believe are reasonable and appropriate, including requiring a
16   holder of a Claim to submit appropriate tax and withholding certifications. Notwithstanding any
17   other provisions of the Plan: (a) each holder of an Allowed Claim that is to receive a Plan
18   Distribution shall have sole and exclusive responsibility for the satisfaction and payment of any tax
19   obligations imposed by any governmental unit, including income, withholding, and other tax
20   obligations on account of such distribution; and (b) no distribution shall be required to be made to
21   or on behalf of such holder pursuant to the Plan unless and until such holder has made arrangements
22   satisfactory to the Reorganized Debtor for the payment and satisfaction of such tax obligations or
23   has, to the Reorganized Debtor’s satisfaction, established an exemption therefrom.
24          7.13    Claims Paid by Third Parties.

25                  (a)     Claims Paid by Third Parties. Except as otherwise provided in the Plan, the
26   Debtor or Reorganized Debtor, as applicable, shall reduce in full a Claim, and such Claim shall be
27   Disallowed without an objection having to be filed and without any further notice to, or action,
28   order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim receives

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 1   payment (before or after the Effective Date) on account of such Claim from a party that is not the
 2   Debtor or Reorganized Debtor. To the extent a holder of a Claim receives a distribution on account
 3   of such Claim and receives payment from a party that is not the Debtor or Reorganized Debtor on
 4   account of such Claim, such holder shall, within ten (10) days of receipt thereof, repay or return
 5   the distribution to the Debtor or Reorganized Debtor, to the extent the holder’s total recovery on
 6   account of such Claim from the third party and under the Plan exceeds the Allowed amount of such
 7   Claim as of the date of any such distribution under the Plan. In the event such holder fails to timely
 8   repay or return such distribution, the Debtor, the Reorganized Debtor, or the Trustee, as applicable,
 9   may pursue any rights and remedies against such holder under applicable law.
10                   (b)    Applicability of Insurance Policies. Except as otherwise provided in the
11   Plan, distributions to holders of Allowed Claims shall be in accordance with the provisions of any
12   applicable insurance policy. Pursuant to section 524(e) of the Bankruptcy Code, nothing contained
13   in the Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtor, the
14   Reorganized Debtor, or any Entity may hold against any other Entity under any insurance policies,
15   including against insurers, nor shall anything contained in the Plan constitute or be deemed a waiver
16   by such insurers of any defenses, including coverage defenses, held by such insurers.
17                                    ARTICLE VIII
                        PROCEDURES FOR RESOLVING DISPUTED CLAIMS
18
              8.1    Objections to Claims; Estimation of Claims.
19
              Except insofar as a Claim is Allowed under the Plan, the Debtor or the Reorganized Debtor,
20
     as applicable, shall be entitled to object to Claims. No other Entity shall be entitled to object to
21
     Claims after the Effective Date. Any objections to Claims shall be served and filed on or before (a)
22
     the one-hundred eightieth (180th) day following the later of (i) the Effective Date and (ii) the date
23
     that a proof of Claim is filed or amended or a Claim is otherwise asserted or amended in writing by
24
     or on behalf of a holder of such Claim, or (b) such later date as may be fixed by the Bankruptcy
25
     Court.
26
              The Reorganized Debtor may at any time request that the Bankruptcy Court estimate any
27
     contingent or unliquidated Claim pursuant to section 502(c) of the Bankruptcy Code, except that
28

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 1   the Reorganized Debtor may not request estimation of any non-contingent or liquidated Claim if
 2   the Debtor’s objection to such Claim was previously overruled by a Final Order, and the
 3   Bankruptcy Court shall retain jurisdiction to estimate any Claim at any time during litigation
 4   concerning any objection to any Claim, including, without limitation, during the pendency of any
 5   appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
 6   contingent or unliquidated Claim, the amount so estimated shall constitute either the Allowed
 7   amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
 8   Court. If the estimated amount constitutes a maximum limitation on the amount of such Claim, the
 9   Reorganized Debtor may pursue supplementary proceedings to object to the allowance of such
10   Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any holder of a
11   Claim that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise be
12   entitled to seek reconsideration of such estimation unless such holder has filed a motion requesting
13   the right to seek such reconsideration on or before twenty-one (21) days after the date on which
14   such Claim is estimated. All of the aforementioned objection, estimation, and resolution procedures
15   are intended to be cumulative and not exclusive of one another. Claims may be estimated and
16   subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
17   Bankruptcy Court.
18          8.2     Payments and Distributions on Disputed Claims.

19          If an objection to a Claim is filed as set forth in Article 8.1, no payment or distribution
20   provided under the Plan shall be made on account of such Claim unless and until such Disputed
21   Claim becomes an Allowed Claim.
22          At such time as a Disputed Claim becomes an Allowed Claim or as soon as practicable
23   thereafter, the Debtor shall distribute to the holder of such Allowed Claim the property distributable
24   to such holder pursuant to Article IV of the Plan; provided, however, that the timing of distributions
25   to holders of Allowed Debt Claims in Class 4 shall be governed in all respects by Article 6.2 of the
26   Plan. To the extent that all or a portion of a Disputed Claim is Disallowed, the holder of such Claim
27   shall not receive any distribution on account of the portion of such Claim that is Disallowed.
28   Notwithstanding any other provision of the Plan, no interest shall accrue or be Allowed on any

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 1   Claim during the period after the Petition Date, except to the extent that section 506(b) of the
 2   Bankruptcy Code permits interest to accrue and be Allowed on such Claim.
 3          8.3     Preservation of Claims and Rights to Settle Claims.

 4          Except as otherwise provided in the Plan (including with respect to the Yidao Claims and
 5   as set forth in Article 11.4 of the Plan), or in any contract, instrument, or other agreement or
 6   document entered into in connection with the Plan, including the Plan Supplement, in accordance
 7   with section 1123(b) of the Bankruptcy Code, the Reorganized Debtor shall retain and may enforce,
 8   sue on, settle, compromise, otherwise resolve, discontinue, abandon, or dismiss any and all claims,
 9   counterclaims, defenses, and rights (including setoff rights) that may be asserted in the Causes of
10   Action, suits, and proceedings listed on Schedule A attached hereto (including any supplement to
11   Schedule A included in the Plan Supplement) (collectively, the “Retained Actions”), whether at
12   law or in equity, whether known or unknown, that the Debtor or his Estate may hold against any
13   Entity (other than Claims, rights, Causes of Action, suits, and proceedings released pursuant to
14   Articles 6.6, 11.4, or 11.9 of the Plan), without the approval of the Bankruptcy Court, the
15   Confirmation Order, and any contract, instrument, release, indenture, or other agreement entered
16   into in connection herewith.
17          The Reorganized Debtor expressly reserves all rights to prosecute any and all Retained
18   Actions against any Entity. Unless any Retained Action against an Entity is expressly waived,
19   relinquished, exculpated, released, compromised, or settled in the Plan or a Bankruptcy Court order,
20   the Reorganized Debtor expressly reserves all Retained Actions for later adjudication, and,
21   therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
22   preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches shall apply to
23   such Retained Action upon, after, or as consequence of, confirmation or consummation of the Plan.
24   For the avoidance of doubt, all claims, Causes of Action, suits, and proceedings of the Debtor that
25   are not Retained Actions are waived as of the Effective Date. Any proceeds received on account of
26   any Retained Action shall be transferred to the Trust and be considered Trust Assets.
27

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 1          8.4     Expenses Incurred On or After the Effective Date.
 2          Except as otherwise ordered by the Bankruptcy Court, and subject to the written agreement
 3   of the Reorganized Debtor, the amount of reasonable expenses incurred by any Professional or the
 4   Voting Agent on or after the Effective Date in connection with implementation of the Plan,
 5   including, without limitation, reconciliation of, objection to, and settlement of Claims, shall be paid
 6   in Cash by the Reorganized Debtor.
 7                                   ARTICLE IX
                       EXECUTORY CONTRACTS AND UNEXPIRED LEASES
 8
            9.1     Assumption of Contracts and Leases.
 9
            As of and subject to the occurrence of the Effective Date and the payment of any applicable
10
     Cure Amount, all executory contracts and unexpired leases of the Debtor listed on Schedule B
11
     attached hereto (including any supplement to Schedule B included in the Plan Supplement) shall
12
     be deemed assumed except that: (a) any executory contracts and unexpired leases that previously
13
     have been assumed or rejected pursuant to a Final Order of the Bankruptcy Court shall be treated
14
     as provided in such Final Order; (b) any executory contracts and unexpired leases listed on the
15
     Schedule of Rejected Contracts and Leases, shall be deemed rejected as of the Effective Date; and
16
     (c) all executory contracts and unexpired leases that are the subject of a separate motion to assume
17
     or reject under section 365 of the Bankruptcy Code pending on the Effective Date shall be treated
18
     as provided for in the Final Order resolving such motion.
19
            Subject to the occurrence of the Effective Date, entry of the Confirmation Order by the
20
     Bankruptcy Court shall constitute approval of the assumptions and rejections described in this
21
     Article 9.1 pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Each executory contract
22
     and unexpired lease assumed pursuant to this Article 9.1 shall revest in and be fully enforceable by
23
     the Reorganized Debtor in accordance with its terms, except as modified by the provisions of the
24
     Plan, or any order of the Bankruptcy Court authorizing and providing for its assumption, or
25
     applicable federal law. The pendency of any motion to assume or reject executory contracts or
26
     unexpired leases shall not prevent or delay implementation of the Plan or the occurrence of the
27
     Effective Date.
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 1          Unless otherwise provided in the Plan, each executory contract and unexpired lease that is
 2   assumed shall include all modifications, amendments, supplements, restatements, or other
 3   agreements that in any manner affect such executory contract or unexpired lease, including all
 4   easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any
 5   other interests, unless any of the foregoing agreements has been previously terminated or is
 6   otherwise not in effect. Modifications, amendments, supplements, and restatements to prepetition
 7   executory contracts or unexpired leases that have been executed by the Reorganized Debtor during
 8   the Chapter 11 Case shall not be deemed to alter the prepetition nature of the executory contract or
 9   unexpired lease.
10          9.2     Claims Based on Rejection of Executory Contracts or Unexpired Leases.

11          Proofs of Claim with respect to all Claims arising from the rejection of Executory Contracts
12   must be filed within sixty (60) days after the later of (a) the date of entry of an order of the
13   Bankruptcy Court approving such rejection or (b) the Confirmation Date. Any Claims not filed
14   within such times shall be forever barred from assertion against the Debtor, the Reorganized
15   Debtor, the Estate, and the property thereof. Unless otherwise ordered by the Bankruptcy Court, all
16   such Claims shall be allowed in accordance with provisions of the Bankruptcy Code, including
17   section 502(b)(6), and shall, following their allowance and payment pursuant to the terms of the
18   Plan, be Unimpaired and be treated as Allowed Debt Claims in Class 4.
19          9.3     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

20                  (a)     Except to the extent that less favorable treatment has been agreed to by the
21   non-Debtor party or parties to each such executory contract or unexpired lease to be assumed
22   pursuant to the Plan, any monetary defaults arising under such executory contract or unexpired
23   lease shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the
24   appropriate amount (the “Cure Amount”) in full in Cash on the later of thirty (30) days after: (i) the
25   Effective Date or (ii) the date on which any Cure Dispute relating to such Cure Amount has been
26   resolved (either consensually or through judicial decision).
27                  (b)     No later than ten (10) calendar days prior to the commencement of the
28   Confirmation Hearing, the Debtor shall file a schedule (the “Cure Schedule”) setting forth the Cure

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 1   Amount, if any, for each executory contract and unexpired lease to be assumed pursuant to Article
 2   9.1 of the Plan, and serve such Cure Schedule on each applicable counterparty. Any party that fails
 3   to object to the applicable Cure Amount listed on the Cure Schedule within ten (10) calendar days
 4   of the filing thereof, shall be forever barred, estopped, and enjoined from disputing the Cure
 5   Amount set forth on the Cure Schedule (including a Cure Amount of $0.00) and/or from asserting
 6   any Claim against the Debtor or Reorganized Debtor arising under section 365(b)(1) of the
 7   Bankruptcy Code except as set forth on the Cure Schedule.
 8                  (c)     In the event of a dispute (each, a “Cure Dispute”) regarding: (i) the Cure
 9   Amount; (ii) the ability of the Reorganized Debtor to provide “adequate assurance of future
10   performance” (within the meaning of section 365 of the Bankruptcy Code) under the contract or
11   lease to be assumed; or (iii) any other matter pertaining to the proposed assumption, the cure
12   payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry
13   of a Final Order resolving such Cure Dispute and approving the assumption in accordance with
14   Article 9.3(a). To the extent a Cure Dispute relates solely to the Cure Amount, the Debtor may
15   assume and/or assume and assign the applicable contract or lease prior to the resolution of the Cure
16   Dispute provided that the Debtor reserves Cash in an amount sufficient to pay the full amount
17   asserted as the required cure payment by the non-Debtor party to such contract or lease (or such
18   smaller amount as may be fixed or estimated by the Bankruptcy Court). To the extent the Cure
19   Dispute is resolved or determined against the Debtor or Reorganized Debtor, as applicable, the
20   Debtor or Reorganized Debtor, as applicable, may reject the applicable executory contract or
21   unexpired lease within ten (10) Business Days after such determination by filing and serving upon
22   the counterparty a notice of rejection, and the counterparty may thereafter file a proof of claim in
23   the manner set forth in Article 9.2 hereof.
24          9.4     Insurance Policies.

25          All insurance policies pursuant to which the Debtor has any obligations in effect as of the
26   Effective Date shall be deemed and treated as executory contracts pursuant to the Plan and shall be
27   assumed by the Debtor (and assigned to the Reorganized Debtor if necessary to continue such
28   insurance policies in full force) pursuant to section 365 of the Bankruptcy Code and shall continue

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 1   in full force and effect.
 2           9.5     Reservation of Rights.

 3           Neither the exclusion nor inclusion of any contract or lease on any exhibit to the Plan
 4   Supplement, nor anything contained in the Plan, shall constitute an admission by the Debtor that
 5   any agreement, contract, or lease is an executory contract or unexpired lease subject to Article IX
 6   of the Plan, as applicable, or that the Debtor or Reorganized Debtor has any liability thereunder.
 7           The Debtor and Reorganized Debtor, as applicable, reserve the right to alter, amend,
 8   modify, or supplement the Schedule of Rejected Contracts and Leases until and including the
 9   Effective Date or as otherwise provided by Bankruptcy Court order; provided, however, that if there
10   is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of
11   assumption, assumption and assignment, or with respect to the asserted Cure Amount, then the
12   Reorganized Debtor shall have thirty (30) days following entry of a Final Order resolving such
13   dispute to amend the decision to assume, or assume and assign, such executory contract or
14   unexpired lease.
15           9.6     Pre-existing Obligations to Debtor Under Executory Contracts and Unexpired
                     Leases
16

17           Rejection of any executory contract or unexpired lease pursuant to the Plan or otherwise

18   shall not constitute a termination of pre-existing obligations owed to the Debtor under such

19   contracts or leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the

20   Reorganized Debtor expressly reserves and does not waive any right to receive, or any continuing

21   obligation of a counterparty to provide, warranties or continued maintenance obligations on goods

22   previously purchased by the Debtor contracting from non-Debtor counterparties to rejected

23   executory contracts or unexpired leases.

24           9.7     Contracts and Leases Entered into After the Petition Date.

25           Contracts and leases entered into after the Petition Date by the Debtor in the ordinary course

26   of business or following approval pursuant to a Bankruptcy Court order, including any executory

27   contracts and unexpired leases assumed by the Debtor, shall be performed by the Debtor or

28   Reorganized Debtor, as the case may be, in the ordinary course of business. Accordingly, such

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 1   contracts and leases (including any assumed executory contracts and unexpired leases) shall survive
 2   and remain unaffected by entry of the Confirmation Order.
 3                               ARTICLE X
        CONDITIONS PRECEDENT TO CONFIRMATION AND THE EFFECTIVE DATE
 4
             10.1   Conditions Precedent to Confirmation.
 5
             It shall be a condition to confirmation of the Plan that the following conditions shall have
 6
     been satisfied in full or waived in accordance with Article 10.3 of the Plan:
 7
                    (a)     The Disclosure Statement shall have been approved by the Bankruptcy Court
 8
     as having adequate information in accordance with section 1125 of the Bankruptcy Code; and
 9
                    (b)     The Confirmation Order shall have been entered on the docket for the
10
     Chapter 11 Case and be in full force and effect.
11
             10.2   Conditions Precedent to the Effective Date.
12
             The Effective Date shall not occur and the Plan shall not become effective unless and until
13
     the following conditions have been satisfied in full or waived in accordance Article 10.3 of the
14
     Plan:
15
             (a)    The Confirmation Order shall have become a Final Order in full force and effect;
16
             (b)    The Discharge Date shall have occurred;
17
             (c)    The documents comprising the Plan Supplement, including the Trust Agreement,
18
     shall, to the extent applicable, have been executed and delivered, and any conditions (other than
19
     the occurrence of the Effective Date or certification that the Effective Date has occurred) contained
20
     therein shall have been satisfied or waived in accordance therewith;
21
             (d)    All necessary actions, consents, documents, certificates, and agreements necessary
22
     to implement the Plan on the Effective Date, including any consents of Pacific Technology and its
23
     managing member, shall have been effected or executed and delivered to the required parties and,
24
     to the extent required, filed with the applicable governmental units in accordance with applicable
25
     laws;
26
             (e)    All applicable governmental authorities shall have granted any necessary consents
27
     and approvals required for the Debtor to emerge from chapter 11 pursuant to the Plan and any
28

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 1   statutory waiting periods shall have expired;
 2          (f)     the Trust shall have access to funding under the Exit Financing and all amounts
 3   necessary to make any payments required to be made in connection with the Plan (including,
 4   without limitation, Administrative Expense Claims and approved professional fees) shall be
 5   deposited into escrow; and
 6          (g)     the Declarations shall have been delivered to the Committee.
 7          10.3    Waiver of Conditions Precedent.

 8          Each of the conditions precedent in Articles 10.1 and 10.2 of the Plan may be waived, in
 9   whole or in part, by the Debtor in writing, without notice to any other third parties or order of the
10   Bankruptcy Court or any other formal action; provided, however, that the condition precedent in
11   Article 10.2(g) of the Plan may be waived, in whole or in part, by the Debtor, only with the
12   reasonable consent of the Committee.
13          10.4    Effect of Non-Occurrence of the Effective Date.

14          If the conditions listed in Articles 10.1 and 10.2 are not satisfied or waived in accordance
15   with Article 10.3, then (a) the Confirmation Order shall be of no further force or effect; (b) the Plan
16   shall be null and void in all respects; (c) no distributions under the Plan shall be made; (d) no
17   executory contracts or unexpired leases that were not previously assumed, assumed and assigned,
18   or rejected shall be deemed assumed, assumed and assigned, or rejected by operation of the Plan;
19   (e) the Debtor and all holders of Claims shall be restored to the status quo ante as of the day
20   immediately preceding the Confirmation Date; and (f) nothing contained in the Plan or the
21   Disclosure Statement shall (i) be deemed to constitute a waiver or release of (x) any Claims against
22   the Debtor or (y) any claims belonging to the Debtor, (ii) prejudice in any manner the rights of the
23   Debtor or any other Entity, or (iii) constitute an admission, acknowledgment, offer, or undertaking
24   by the Debtor in any respect.
25                                          ARTICLE XI
                                      EFFECT OF CONFIRMATION
26
            11.1    Vesting of Assets.
27
            Except as otherwise provided in the Plan (including with respect to the Trust Assets as set
28

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 1   forth in Article 6.2 of the Plan), as of the Effective Date, all property of the Estate, and any property
 2   acquired by the Debtor or Reorganized Debtor under the Plan, shall vest in the Reorganized Debtor,
 3   free and clear of all Claims, Liens, charges, other encumbrances and interests. On and after the
 4   Effective Date, the Debtor may use, acquire, and dispose of property and compromise or settle any
 5   Claims without supervision or approval by the Bankruptcy Court and free of any restrictions of the
 6   Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the Plan
 7   and the Confirmation Order.
 8           11.2    Binding Effect.

 9           Subject to the occurrence of the Effective Date and notwithstanding Bankruptcy Rules
10   3020(e), 6004(h), or 7062, on and after the Confirmation Date, the provisions of the Plan shall be
11   immediately effective and enforceable and deemed binding upon any holder of a Claim against the
12   Debtor, and such holder’s respective successors and assigns, (whether or not the Claim of such
13   holder is Impaired under the Plan, whether or not such holder has accepted the Plan, and whether
14   or not such holder is entitled to a distribution under the Plan), all Entities that are party, or subject,
15   to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each
16   Entity acquiring property under the Plan, and any and all non-Debtor counterparties to executory
17   contracts, unexpired leases, and any other prepetition agreements. All Claims shall be as fixed,
18   adjusted, or compromised, as applicable, pursuant to the Plan regardless of whether any holder of
19   a Claim or debt has voted on the Plan.
20           11.3    Discharge of Claims.

21           PLEASE TAKE NOTICE THAT THE DEBTOR SEEKS A DISCHARGE
22   PURSUANT TO SECTION 1141(D)(5) OF THE BANKRUPTCY CODE AS OF THE
23   EFFECTIVE DATE OF THE PLAN. THE DEBTOR BELIEVES THAT CAUSE EXISTS
24   TO GRANT A DISCHARGE ON THE EFFECTIVE DATE OF THE PLAN BECAUSE THE
25   PLAN PROVIDES FOR THE CONTRIBUTION OF HIS ASSETS TO THE TRUST ON
26   THE EFFECTIVE DATE OF THE PLAN.
27           PLEASE TAKE FURTHER NOTICE THAT, PURSUANT TO THE PLAN, A
28   DISCHARGE WILL BE ENTERED ON THE EFFECTIVE DATE OF THE PLAN, WHICH

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 1   WILL RESULT IN ALL CREDITORS WITH DISCHARGEABLE CLAIMS BEING
 2   ENJOINED FROM TAKING ANY ACTION TO COLLECT, RECOVER OR OFFSET
 3   ANY DISCHARGEABLE DEBT AS A PERSONAL LIABILITY OF THE DEBTOR.
 4          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise
 5   specifically provided in the Plan, the distributions, rights, and treatment that are provided in
 6   the Plan will be in exchange for, and in complete satisfaction, settlement, discharge, and
 7   release of, all Claims against the Debtor of any nature whatsoever, whether known or
 8   unknown, or against the assets or properties of the Debtor that arose before the Effective
 9   Date. Except as expressly provided in the Plan, on the Discharge Date (and subject to its
10   occurrence), and pursuant to section 1141(d)(5)(A) of the Bankruptcy Code, entry of the
11   Confirmation Order shall be deemed to act as a discharge and release under section
12   1141(d)(1)(A) of the Bankruptcy Code of all Claims against the Debtor and his assets, arising
13   at any time before the Effective Date, regardless of whether a proof of Claim was filed,
14   whether the Claim is Allowed, or whether the holder of the Claim votes to accept the Plan or
15   is entitled to receive a distribution under the Plan; provided, however, that in no event shall
16   occurrence of the Discharge Date discharge the Debtor from any obligations remaining under
17   the Plan as of the Discharge Date. Any default by the Debtor with respect to any Claim that
18   existed immediately prior to or on account of the filing of the Chapter 11 Case shall be deemed
19   cured on the Discharge Date.
20          Except as expressly provided in the Plan, any holder of a discharged Claim will be
21   precluded from asserting against the Debtor or any of his assets any other or further Claim
22   based on any document, instrument, act, omission, transaction, or other activity of any kind
23   or nature that occurred before the Effective Date. Except as expressly provided in the Plan,
24   pursuant to section 1141(d)(5)(A), the Confirmation Order will be a judicial determination
25   of discharge of all liabilities of the Debtor to the extent allowed under section 1141 of the
26   Bankruptcy Code, and the Debtor will not be liable for any Claims and will only have the
27   obligations that are specifically provided for in the Plan. Notwithstanding the foregoing,
28   nothing contained in the Plan or the Confirmation Order shall discharge the Debtor from

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 1   any debt excepted from discharge under section 523 of the Bankruptcy Code by a Final
 2   Order.
 3            11.4   Releases.

 4                   (a)    Releases by the Debtor. Upon the Effective Date, for good and valuable
 5   consideration, the adequacy of which is hereby confirmed, the Debtor, in his individual
 6   capacity and as debtor in possession, shall be deemed forever to release, waive, and discharge
 7   (x) the Estate; (y) all Persons engaged or retained by the Debtor in connection with the
 8   Chapter 11 Case (including in connection with the preparation of and analyses relating to the
 9   Disclosure Statement and the Plan); and (z) any and all advisors, attorneys, actuaries,
10   financial advisors, accountants, investment bankers, agents, professionals, consultants and
11   representatives of each of the foregoing Persons and Entities (whether current or former, in
12   each case in his, her, or its capacity as such), from any and all claims, obligations, suits,
13   judgments, damages, demands, debts, rights, remedies, actions, Causes of Action, and
14   liabilities, whether for tort, fraud, contract, recharacterization, subordination, violations of
15   federal or state securities laws (other than the rights of the Debtor or Reorganized Debtor to
16   enforce the terms of the Plan and the contracts, instruments, releases, and other agreements
17   or documents delivered in connection with the Plan), whether liquidated or unliquidated,
18   fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
19   then-existing or thereafter arising, at law, in equity, or otherwise, based in whole or in part
20   on any act, omission, transaction, event or other occurrence, or circumstances taking place
21   on or before the Effective Date, in any way relating to (i) the Debtor or the Chapter 11 Case;
22   (ii) any action or omission of any Released Party with respect to any indebtedness under
23   which the Debtor is or was a borrower or guarantor; (iii) any Released Party in any such
24   Released Party’s capacity as an employee, or agent of, or advisor to, or consultant to, the
25   Debtor; (iv) the subject matter of, or the transactions or events giving rise to, any Claim that
26   is treated in the Plan; (v) the business or contractual arrangements between the Debtor and
27   any Released Party; (vi) the restructuring of Claims before or during the Chapter 11 Case;
28   and (vii) the negotiation, formulation, preparation, or dissemination of the Plan (including,

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 1   for the avoidance of doubt, the Plan Supplement), the Disclosure Statement, or related
 2   agreements, instruments, or other documents, other than claims or liabilities arising out of or
 3   relating to any act or omission of a Released Party that is determined by a Final Order to
 4   have constituted willful misconduct, fraud, or gross negligence. The Reorganized Debtor shall
 5   be bound, to the same extent the Debtor is bound, by the releases and discharges set forth
 6   above.
 7            Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
 8   pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(a) by the
 9   Debtor, which includes by reference each of the related provisions and definitions contained
10   in the Plan, and further, shall constitute its finding that each release described in this Article
11   11.4(a) is: (i) in exchange for the good and valuable consideration provided by the Released
12   Parties, a good faith settlement and compromise of such claims; (ii) in the best interests of the
13   Debtor and all holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made
14   after due notice and opportunity for hearing; and (v) a bar to any of the Releasing Parties
15   asserting any claim, Cause of Action, or liability related thereto, of any kind whatsoever,
16   against any of the Released Parties or their property.
17                  (b)    Releases by Holders of Non-Debt Claims. On the Effective Date, to the
18   maximum extent permitted by applicable law, each Releasing Party, in consideration for the
19   obligations of the Debtor and the Reorganized Debtor under the Plan, and the Trust Interests
20   and Cash and other contracts, instruments, releases, agreements, or documents to be
21   delivered in connection with the Plan, shall be deemed forever to release, waive, and discharge
22   the Released Parties from personal liability in every jurisdiction from any and all claims,
23   obligations, suits, judgments, damages, demands, debts, rights, remedies, actions, Causes of
24   Action, and liabilities whatsoever, including any derivative Claims asserted or assertable on
25   behalf of the Debtor, whether for tort, fraud, contract, recharacterization, subordination,
26   violations of federal or state securities laws or laws of any other jurisdiction or otherwise,
27   whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
28   unknown, foreseen or unforeseen, then-existing or thereafter arising, at law, in equity, or

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 1   otherwise, based in whole or in part on any act, omission, transaction, event, or other
 2   occurrence, or circumstances taking place on or before the Effective Date, in any way relating
 3   to (i) the Debtor or the Chapter 11 Case; (ii) any action or omission of any Released Party
 4   with respect to any indebtedness under which the Debtor is or was a borrower or guarantor;
 5   (iii) any Released Party in any such Released Party’s capacity as an employee, agent of, or
 6   advisor to, or consultant to, the Debtor; (iv) the subject matter of, or the transactions or events
 7   giving rise to, any Claim that is treated in the Plan; (v) the business or contractual
 8   arrangements between the Debtor and any Released Party; (vi) the restructuring of Claims
 9   before or during the Chapter 11 Case and the solicitation of votes with respect to the Plan;
10   and (vii) the negotiation, formulation, preparation, entry into, or dissemination of the Plan
11   (including, for the avoidance of doubt, the Plan Supplement and all documents contained or
12   referred to therein), the Disclosure Statement, or related agreements, instruments, or other
13   documents. Notwithstanding anything contained herein to the contrary, the foregoing release
14   (x) does not release any obligations of any party under the Plan or any document, instrument,
15   or agreement (including those set forth in the Plan Supplement) executed to implement the
16   Plan or (y) shall only apply to holders of Non-Debt Claims in their capacity as a holder of a
17   Non-Debt Claim and shall not apply to any other Claims such holder may have.
18          In connection with the releases described in this Article 11.4(b), each Releasing Party
19   shall waive all rights conferred by the provisions of section 1542 of the California Civil Code
20   and/or any similar state or federal law. Section 1542 of the California Civil Code provides as
21   follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
22   CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
23   THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER
24   MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
25   DEBTOR.”
26          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
27   pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(b), which
28   includes by reference each of the related provisions and definitions contained in the Plan, and

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 1   further, shall constitute its finding that each release described in Article 11.4(b) is: (i) in
 2   exchange for the good and valuable consideration provided by the Released Parties, a good
 3   faith settlement and compromise of such claims; (ii) in the best interests of the Debtor and all
 4   holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made after due notice
 5   and opportunity for hearing; and (v) a bar to any of the Releasing Parties asserting any claim,
 6   Cause of Action, or liability related thereto, of any kind whatsoever, against any of the
 7   Released Parties or their property.
 8                  (c)    Standstill and Releases by Holders of Allowed Debt Claims, Allowed
 9   China Secured Claims, and Allowed Late Filed Debt Claims. To the maximum extent
10   permitted by applicable law, each holder of an Allowed Debt Claim or Allowed China
11   Secured Claim shall agree for a period of four years after the Effective Date (the “Standstill
12   Period”) to not assert any new Causes of Action (x) against the Debtor for personal liability
13   directly or (y) derivatively in its capacity as a creditor of a claim owed solely or jointly by the
14   Debtor (including unwinding or alter ego type claims), in any non-U.S. jurisdiction
15   (collectively, the “YT Claims”); provided, however, that such holder may continue to
16   prosecute any actions commenced prepetition against the Debtor up to judgment and pursue
17   Other Distributions through judicial authorities in the PRC to satisfy such holder’s Debt
18   Claim or China Secured Claim through a mechanism that will be mutually agreed to by the
19   parties, including claims against primary obligors solely based on such holder’s contractual
20   agreements with such primary obligors (for the avoidance of doubt, such holder may not
21   bring unwinding or alter ego type claims against such primary obligors); provided further,
22   however, that the Standstill Period shall terminate in the event a Liquidation Event occurs
23   during the Standstill Period. All limitations periods applicable to all YT Claims in any non-
24   U.S. jurisdictions, to the extent not previously expired, shall be tolled for the duration of the
25   Standstill Period.
26          Each holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed
27   Late Filed Debt Claim shall, within ninety (90) days after the later to occur of (i) the Effective
28   Date and (ii) the date such Debt Claim, China Secured Claim, or Late Filed Debt Claim

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 1   becomes Allowed, (x) take the steps and provide the documents described in the Trust
 2   Agreement to notify the applicable court or courts in the PRC (the “Chinese Courts”) that
 3   (A) the Debtor and such holder and (B) if applicable, the KCBI Claimant and the applicable
 4   Key China Business Individual have reached a settlement agreement that is embodied in and
 5   has been implemented through the Plan and request that the Chinese Courts remove the
 6   Debtor from the List of Dishonest Judgment Debtors (the “China Debtor List”) and lift any
 7   consumption or travel restrictions (the “China Restrictions”), as applicable, and (y) refrain
 8   from taking any action during the Standstill Period to cause (A) the Debtor or (B) if
 9   applicable, the Key China Business Individual to be reinstated on the China Debtor List or
10   be subject to the China Restrictions (the “China Debtor List Covenant”).
11          As a condition to receiving Plan Distributions (including Trust Distributions), each
12   holder of an Allowed Debt Claim (including the holder of an Allowed China Secured Claim
13   treated as an Allowed Debt Claim pursuant to Article 4.3 of the Plan), Allowed China Secured
14   Claim, or Allowed Late Filed Debt Claim shall provide an affidavit to the Trustee within
15   ninety (90) days after the date such Debt Claim, China Secured Claim, or Late Filed Debt
16   Claim becomes Allowed that certifies (i) such holder’s compliance with the China Debtor List
17   Covenant, (ii) that such holder has not initiated, and will not initiate, any YT Claims during
18   the Standstill Period, and (iii) if applicable, such holder’s compliance with Article 6.6 of the
19   Plan and the release of Wei Gan’s personal liability pursuant to the Wei Gan Settlement. If
20   the holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late Filed
21   Debt Claim fails to submit the above affidavit, submits an affidavit containing falsified
22   information, or breaches the affidavit, such holder shall forfeit its Plan Distributions
23   (including any Trust Interests) and such Plan Distributions shall revert to the Trust for the
24   ratable benefit of holders of Allowed Debt Claims and the Reorganized Debtor pursuant to
25   the Distribution Trust Waterfall.
26          Subject to approval of the applicable KCBI Settlement, before any Trust Distributions
27   are made to an applicable KCBI Claimant, such claimant shall provide an affidavit that
28   certifies such claimant’s compliance with the China Debtor List Covenant with respect to the

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 1   applicable Key China Business Individual.
 2          Upon the earlier of a holder of an Allowed Debt Claim (including the holder of an
 3   Allowed China Secured Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of
 4   the Plan) receiving (i) Trust Distributions that, in the aggregate, are equal to 40% of its Debt
 5   Claim Allocation Amount and (ii) Trust Distributions and Other Distributions (from
 6   enforcement or other actions) that, in the aggregate, are equal to 100% of its Debt Claim
 7   Allocation Amount (the date upon which the foregoing condition occurs is the “Liability
 8   Release Date”), such holder (x) shall be deemed to have released the YT Claims on account
 9   of such Debt Claim in every jurisdiction and (y) agrees that it shall not assert any new, or
10   continue to prosecute any existing, YT Claims related to such Debt Claim in every
11   jurisdiction; provided, however, that the foregoing release shall not release, waive, or
12   otherwise impact the rights of such holder to receive further Trust Distributions or to pursue
13   and receive Other Distributions through a mechanism that will be mutually agreed to by the
14   parties; provided further, however, that if an Allowed China Secured Claim is satisfied in full
15   prior to the initial Trust Distribution Date, on the date thereof, the holder of such China
16   Secured Claim (A) shall be deemed to have released the YT Claims on account of such China
17   Secured Claim in every jurisdiction and (B) agrees that it shall not assert any new, or continue
18   to prosecute any existing, YT Claims related to such China Secured Claim in every
19   jurisdiction.
20          Each holder of an Allowed Late Filed Debt Claim, on the date of allowance of such
21   Late Filed Debt Claim (i) shall be deemed to have released the YT Claims on account of such
22   Late Filed Debt Claim in every jurisdiction and (ii) agrees that it shall not assert any new, or
23   continue to prosecute any existing, YT Claims related to such Late Filed Debt Claim in every
24   jurisdiction.
25          Within ninety (90) days after the (i) applicable Liability Release Date with respect to
26   Allowed Debt Claims (including Allowed China Secured Claims treated as Allowed Debt
27   Claims pursuant to Article 4.3 of the Plan), (ii) the date of satisfaction in full of an Allowed
28   China Secured Claim and, if applicable, the occurrence of the Liability Release Date with

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 1   respect to any Deficiency Claim on account of such Allowed China Secured Claim, or (iii) the
 2   date of allowance of a Late Filed Debt Claim, each holder of an Allowed Debt Claim, Allowed
 3   China Secured Claim, or Allowed Late Filed Debt Claim shall (as a condition to receiving
 4   further Trust Distributions, including any Trust Distributions upon the termination or
 5   dissolution of the Trust) (x) withdraw or retract any litigations, enforcement actions,
 6   arbitrations, and any other proceedings against the Debtor from the courts and judicial
 7   authorities in all jurisdictions, including, but not limited to, the Chinese Courts, or confirm
 8   with the judicial authorities that the Debtor has settled all of his debt obligations or legal
 9   responsibilities to such holder and (y) file and execute any documents requested by the Debtor
10   to evidence the above release. The Debtor reserves all rights to seek enforcement by the
11   Chinese judicial authorities of the rights provided herein.
12          Subject to approval of the applicable KCBI Settlement, upon the Liability Release
13   Date, each applicable KCBI Claimant shall release the applicable Key China Business
14   Individual of his or her guaranty obligations on behalf of the Debtor.
15          In connection with the releases described in this Article 11.4(c), each holder of an
16   Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late Filed Debt Claim shall
17   waive all rights conferred by the provisions of section 1542 of the California Civil Code and/or
18   any similar state or federal law. Section 1542 of the California Civil Code provides as follows:
19   “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR
20   DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME
21   OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
22   MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”
23          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
24   pursuant to Bankruptcy Rule 9019, of the releases described in this Article 11.4(c), which
25   includes by reference each of the related provisions and definitions contained in the Plan, and
26   further, shall constitute its finding that each release described in Article 11.4(c) is: (i) in
27   exchange for the good and valuable consideration provided by the Debtor and Reorganized
28   Debtor, a good faith settlement and compromise of such claims; (ii) in the best interests of the

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 1   Debtor and all holders of Claims; (iii) fair, equitable, and reasonable; (iv) given and made
 2   after due notice and opportunity for hearing; and (v) except as otherwise provided in the
 3   Plan, a bar to any holder of an Allowed Debt Claim or Allowed Late Filed Debt Claim
 4   asserting any Claim, Cause of Action, or liability related thereto, of any kind whatsoever,
 5   against the Debtor or Reorganized Debtor.
 6          11.5   Exculpation and Limitation of Liability.

 7          None of the Debtor or Reorganized Debtor, or the direct or indirect affiliates,
 8   employees, advisors, attorneys, financial advisors, accountants, investment bankers, agents,
 9   consultants, or other professionals (whether current or former, in each case, in his, her, or its
10   capacity as such) of the Debtor or the Reorganized Debtor, or the Released Parties shall have
11   or incur any liability to, or be subject to any right of action by, any holder of a Claim, or any
12   other party in interest in the Chapter 11 Case, or any of their respective agents, employees,
13   representatives, financial advisors, attorneys or agents acting in such capacity, or direct or
14   indirect affiliates, or any of their successors or assigns, for any act or omission in connection
15   with, relating to, or arising out of, the Chapter 11 Case, formulation, negotiation, preparation,
16   dissemination, confirmation, solicitation, implementation, or administration of the Plan, the
17   Plan Supplement and all documents contained or referred to therein, the Disclosure
18   Statement, any contract, instrument, release or other agreement or document created or
19   entered into in connection with the Plan, or any other pre- or postpetition act taken or omitted
20   to be taken in connection with or in contemplation of the restructuring of the Debtor or
21   confirming or consummating the Plan (including the distribution of any property under the
22   Plan); provided, however, that the foregoing provisions of this Article 11.5 shall have no effect
23   on the liability of any Person or Entity that results from any such act or omission that is
24   determined by a Final Order to have constituted willful misconduct, fraud, or gross
25   negligence and shall not impact the right of any holder of a Claim, or any other party to
26   enforce the terms of the Plan and the contracts, instruments, releases, and other agreements
27   or documents delivered in connection with the Plan. Without limiting the generality of the
28   foregoing, the Debtor and the Debtor’s direct or indirect affiliates, employees, advisors,

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 1   attorneys, financial advisors, accountants, investment bankers, agents, consultants, and other
 2   professionals (whether current or former, in each case, in his, her, or its capacity as such)
 3   shall, in all respects, be entitled to reasonably rely upon the advice of counsel with respect to
 4   their duties and responsibilities under the Plan. The exculpated parties have participated in
 5   good faith and in compliance with the applicable provisions of the Bankruptcy Code with
 6   regard to the solicitation and distribution of the securities pursuant to the Plan, and,
 7   therefore, are not, and on account of such distributions shall not be, liable at any time for the
 8   violation of any applicable law, rule, or regulation governing the solicitation of acceptances
 9   or rejections of the Plan or such distributions made pursuant to the Plan. This exculpation
10   shall be in addition to, and not in limitation of, all other releases, indemnities, exculpations,
11   and any other applicable law or rules protecting such exculpating parties from liability.
12          11.6   Injunction.

13                 (a)     General. All Persons or Entities who have held, hold, or may hold
14   Claims (other than Claims that are reinstated under the Plan), and all other parties in interest
15   in the Chapter 11 Case, along with their respective current and former employees, agents,
16   officers, directors, principals, and direct and indirect affiliates, are permanently enjoined,
17   from and after the Effective Date, from, in respect of any Claim or Cause of Action released
18   or settled hereunder, (i) commencing, conducting, or continuing in any manner, directly or
19   indirectly, any suit, action, or other proceeding of any kind (including, without limitation,
20   any proceeding in a judicial, arbitral, administrative, or other forum) against the Released
21   Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized
22   Debtor, or in respect of any Claim or Cause of Action released or settled hereunder;
23   (ii) enforcing, levying, attaching, collecting, or otherwise recovering by any manner or means,
24   whether directly or indirectly, of any judgment, award, decree, or order against the Released
25   Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized
26   Debtor; (iii) creating, perfecting, or enforcing in any manner, directly or indirectly, any
27   encumbrance of any kind against the Released Parties, the Key China Business Individuals,
28   Wei Gan, the Debtor, or the Reorganized Debtor; (iv) asserting any right of setoff,

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 1   subrogation, or recoupment of any kind, against any obligation due from the Released
 2   Parties, the Key China Business Individuals, Wei Gan, the Debtor, or the Reorganized
 3   Debtor, or against the property or interests in property of the Debtor or Reorganized Debtor,
 4   on account of such Claims; or (v) commencing or continuing in any manner any action or
 5   other proceeding of any kind on account of, in connection with, or with respect to any such
 6   Claims released or settled pursuant to the Plan; provided, however, that nothing contained
 7   herein shall preclude such Entities from exercising their rights pursuant to and consistent
 8   with the terms of the Plan and the contracts, instruments, releases, and other agreements and
 9   documents delivered under or in connection with the Plan.
10                  (b)     Injunction Against Interference With the Plan. Upon entry of the
11   Confirmation Order, all holders of Claims and their respective current and former
12   employees, agents, officers, directors, principals, and direct and indirect affiliates shall be
13   enjoined from taking any actions to interfere with the implementation or consummation of
14   the Plan. Each holder of an Allowed Claim, by accepting, or being eligible to accept,
15   distributions under or reinstatement of such Claim, as applicable, pursuant to the Plan, shall
16   be deemed to have consented to the injunction provisions set forth in this Article 11.6 of the
17   Plan.
18           11.7   Term of Bankruptcy Injunction or Stays.

19           All injunctions or stays (excluding any injunctions or stays contained in the Plan or the
20   Confirmation Order) in effect in the Chapter 11 Case under sections 105 or 362 of the Bankruptcy
21   Code, or any order of the Bankruptcy Court or otherwise, and in existence as of the Confirmation
22   Date, shall remain in full force and effect until the Effective Date.
23           11.8   Termination of Subordination Rights and Settlement of Related Claims.

24           The classification and manner of satisfying all Claims under the Plan takes into
25   consideration all subordination rights, whether arising by contract or under general principles of
26   equitable subordination, section 510 of the Bankruptcy Code, or otherwise. All subordination rights
27   that a holder of a Claim may have with respect to any distribution to be made under the Plan, shall
28   be discharged and terminated, and all actions related to the enforcement of such subordination

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 1   rights shall be enjoined permanently. Accordingly, distributions under the Plan to holders of
 2   Allowed Claims shall not be subject to payment of a beneficiary of such terminated subordination
 3   rights, or to levy, garnishment, attachment, or other legal process by a beneficiary of such
 4   terminated subordination rights.
 5          11.9    Waiver of Actions Arising Under Chapter 5 of the Bankruptcy Code.

 6          Without limiting any other applicable provisions of, or releases contained in, the Plan, each
 7   of the Debtor, the Reorganized Debtor, their respective successors, assigns, and representatives,
 8   and any and all other entities who may purport to assert any claim or Cause of Action, directly or
 9   derivatively, by, through, for, or because of the foregoing entities, hereby irrevocably and
10   unconditionally release, waive, and discharge any and all claims or Causes of Action that they have,
11   had, or may have that are based on section 544, 547, 548, 549, and 550 of the Bankruptcy Code
12   and analogous non-bankruptcy law for all purposes; provided, however, that notwithstanding this
13   or any other provision of the Plan, in the event the Trustee (with the approval of the Creditor Trust
14   Committee as set forth in the Trust Agreement) determines that it has reasonable and good-faith
15   evidence that (a) an asset, other than any of the Seized China Assets or assets subject to seizure in
16   China, was property of the Debtor as of the Petition Date but was not disclosed by a document or
17   testimony in his capacity as a chapter 11 debtor during the chapter 11 case, including, without
18   limitation, in any disclosure statement, schedules, statements of financial affairs, section 341
19   meeting of creditors, confidential depositions, and materials posted in the creditor data room
20   (the “Chapter 11 Disclosures”), provided that the Declarations shall supersede the Chapter 11
21   Disclosures, the Trustee may pursue an action for turnover of such asset under section 542 of the
22   Bankruptcy Code through the Plan Arbitration Procedures; or (b) the Debtor was the transferor of
23   a transfer avoidable pursuant to section 548(a)(1)(A) of the Bankruptcy Code, the Trustee may
24   pursue an action to avoid and recover such transfer pursuant to sections 548(a)(1)(A) and 550 of
25   the Bankruptcy Code, as applicable, through the Plan Arbitration Procedures, provided that such
26   transfer did not arise out of any transaction or occurrence disclosed in the Chapter 11 Disclosures,
27   provided further that the Declarations shall supersede the Chapter 11 Disclosures (collectively, (a)
28   and (b) are the “Bankruptcy Actions”).

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 1          Any Bankruptcy Actions must be commenced within one hundred eighty (180) days after
 2   the Effective Date (the “Bankruptcy Actions Limitations Period”), provided that the Trustee shall
 3   meet and confer with the Debtor prior to commencing any Bankruptcy Action, and the Bankruptcy
 4   Actions Limitations Period with respect to such Bankruptcy Action shall be automatically tolled
 5   for a period of thirty (30) days while the parties meet and confer, subject to extension by mutual
 6   agreement.
 7          Upon the expiration of the Bankruptcy Actions Limitations Period, any Bankruptcy Actions
 8   that have not been timely asserted pursuant to the foregoing procedures shall be deemed satisfied
 9   and released, effective as of the Effective Date. For the avoidance of doubt, none of the claims or
10   Causes of Action referenced in this Article 11.9, except as excluded herein, shall constitute
11   Retained Actions.
12          11.10 Reservation of Rights.

13          The Plan shall have no force or effect unless and until the Effective Date. Prior to the
14   Effective Date, none of the filing of the Plan, any statement or provision contained in the Plan, or
15   action taken by the Debtor with respect to the Plan, the Disclosure Statement, or the Plan
16   Supplement shall be, or shall be deemed to be, an admission or waiver of any rights of the Debtor
17   or any other party, including the Released Parties, with respect to any Claims or any other matter.
18                                        ARTICLE XII
                                   RETENTION OF JURISDICTION
19

20          Except as provided herein with respect to matters subject to the Plan Arbitration Procedures,

21   pursuant to sections 105(c) and 1142 of the Bankruptcy Code, to the fullest extent permitted by

22   law, and notwithstanding the entry of the Confirmation Order or the occurrence of the Effective

23   Date, the Bankruptcy Court shall retain exclusive jurisdiction over any matter arising under the

24   Bankruptcy Code, arising in or out of, or related to, the Chapter 11 Case, the Plan, or the

25   Confirmation Order (except as provided in the Trust Agreement), including jurisdiction to:

26                  (a)    Allow, disallow, determine, liquidate, classify, estimate, or establish the

27   priority or secured or unsecured status of any Claim, including the resolution of any request for

28

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 1   payment of any Administrative Expense Claim and the resolution of any and all objections to the
 2   allowance or priority of Claims;
 3                  (b)     Resolve any matters related to the assumption, assumption and assignment,
 4   or rejection of any executory contract or unexpired lease to which the Debtor is party to or with
 5   respect to which the Debtor or Reorganized Debtor may be liable, and hear, determine, and, if
 6   necessary, liquidate, any Claims arising therefrom;
 7                  (c)     Determine any and all motions, adversary proceedings, applications,
 8   contested matters, or other litigated matters pending on the Effective Date;
 9                  (d)     Ensure that Plan Distributions to holders of Allowed Claims are
10   accomplished pursuant to the terms of the Plan;
11                  (e)     Adjudicate any and all disputes arising from or relating to Plan Distributions;
12                  (f)     Enter, implement, or enforce such orders as may be necessary or appropriate
13   to implement or consummate the provisions of the Plan, and all contracts, instruments, releases,
14   settlements (including the Wei Gan Settlement and any KCBI Settlements) and other agreements
15   or documents created in connection with the Plan or the Confirmation Order;
16                  (g)     Enter, implement, or enforce such orders as may be appropriate in the event
17   the Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated, or
18   distributions pursuant to the Plan are enjoined or stayed;
19                  (h)     Issue injunctions, enter and implement other orders, and take such other
20   actions as may be necessary or appropriate to restrain interference by any Entity with the
21   consummation, implementation, or enforcement of the Plan, the Confirmation Order, or any other
22   order of the Bankruptcy Court;
23                  (i)     Modify the Plan before or after the Effective Date under section 1127 of the
24   Bankruptcy Code or modify the Confirmation Order, or any contract, instrument, release, or other
25   agreement or document created in connection with the Plan or the Confirmation Order, or remedy
26   any defect or omission or reconcile any inconsistency in any Bankruptcy Court order, the Plan, the
27   Disclosure Statement, the Confirmation Order, or any contract, instrument, release, or other
28

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 1   agreement or document created in connection with the Plan or the Confirmation Order, in such
 2   manner as may be necessary or appropriate to consummate the Plan;
 3                  (j)    Hear and determine all applications for compensation and reimbursement of
 4   expenses of Professionals under sections 330, 331, and 503(b) of the Bankruptcy Code incurred
 5   prior to the Confirmation Date;
 6                  (k)    Hear and determine any rights, claims, or Causes of Action held or reserved
 7   by, or accruing to, the Debtor or the Reorganized Debtor pursuant to the Bankruptcy Code, the
 8   Confirmation Order, or, in the case of the Debtor, any other applicable law;
 9                  (l)    Enforce all orders, judgments, injunctions, releases, exculpations,
10   indemnifications, and rulings entered in connection with the Chapter 11 Case;
11                  (m)    Hear and determine disputes arising in connection with the interpretation,
12   implementation, or enforcement of the Plan, the Confirmation Order, any transactions
13   contemplated thereby, or any agreement, instrument, or other document governing or relating to
14   any of the foregoing, or the effect of the Plan under any agreement to which the Debtor, the
15   Reorganized Debtor, or any affiliate thereof are party;
16                  (n)    Hear and determine any issue for which the Plan or a related document
17   requires a Final Order of the Bankruptcy Court;
18                  (o)    Issue such orders as may be necessary or appropriate to aid in execution of
19   the Plan or to maintain the integrity of the Plan following consummation, to the extent authorized
20   by section 1142 of the Bankruptcy Code;
21                  (p)    Determine such other matters and for such other purposes as may be
22   provided in the Confirmation Order;
23                  (q)    Hear and determine matters concerning state, local, and federal taxes in
24   accordance with sections 346, 505, and 1146 of the Bankruptcy Code;
25                  (r)    Enter and enforce any order for the sale or transfer of property pursuant to
26   sections 363, 1123, or 1146(a) of the Bankruptcy Code;
27                  (s)    Hear and determine all disputes involving the existence, scope, and nature
28   of the discharges, releases, or injunctions granted under the Plan and the Bankruptcy Code;

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 1                  (t)       Hear and determine all disputes involving or in any manner implicating the
 2   exculpation or indemnification provisions contained in the Plan;
 3                  (u)       Hear and determine any matters arising under or related to sections 1141 and
 4   1145 of the Bankruptcy Code;
 5                  (v)       Recover all assets of the Debtor and property of the Debtor’s Estate,
 6   wherever located;
 7                  (w)       Enter an order of discharge, upon request of the Debtor or Reorganized
 8   Debtor, as applicable;
 9                  (x)       Enter a final decree closing the Chapter 11 Case; and
10                  (y)       Hear and determine any other matter not inconsistent with the Bankruptcy
11   Code and title 28 of the United States Code.
12                                         ARTICLE XIII
                                     MISCELLANEOUS PROVISIONS
13

14           13.1   Claims Allowed by the Plan.

15           The Plan Supplement shall include a listing of all Claims to be deemed Allowed by the Plan
16   on the Effective Date.
17           13.2   Payment of Statutory Fees.

18           On the Effective Date, all fees due and payable pursuant to section 1930 of title 28 of the
19   U.S. Code shall be paid by the Debtor. Following the Effective Date, the Reorganized Debtor shall
20   pay any and all such fees when due and payable, and shall file with the Bankruptcy Court quarterly
21   reports in a form reasonably acceptable to the U.S. Trustee. The Debtor and Reorganized Debtor
22   shall remain obligated to pay quarterly fees to the Office of the U.S. Trustee until the earliest of the
23   Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy
24   Code.
25           13.3   Exemption from Securities Laws.

26           To the maximum extent provided by section 1145(a) of the Bankruptcy Code and applicable
27   non-bankruptcy law, the offering, issuance, or distribution of the Trust Interests, shall be exempt
28   from, among other things, section 5 of the Securities Act, if applicable, and from any state or federal

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 1   securities laws requiring registration for offer or sale of a security or registration or licensing of an
 2   issuer of, underwriter of, or broker or dealer in, a security, and otherwise enjoy all exemptions
 3   available for distributions of securities under a plan of reorganization in accordance with all
 4   applicable law, including, without limitation, section 1145 of the Bankruptcy Code.
 5           13.4    Exemption from Certain Transfer Taxes.

 6           Pursuant to section 1146(a) of the Bankruptcy Code, the transfer of title to or ownership of
 7   any of the Debtor’s interests in any property; or the making or delivery of any instrument of transfer
 8   in connection with the Plan shall not be subject to any document recording tax, stamp tax,
 9   conveyance fee, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage recording
10   tax, Uniform Commercial Code filing or recording fee, or other similar tax or governmental
11   assessment, and the Confirmation Order shall direct the appropriate state or local governmental
12   officials or agents to forgo the collection of any such tax or governmental assessment and to accept
13   for filing and recordation any of the foregoing instruments or other documents without the payment
14   of any such tax or governmental assessment and to accept for filing and recordation any of the
15   foregoing instruments or other documents without the payment of any such tax or governmental
16   assessment. Without limiting the foregoing, any issuance, transfer, or exchange of a security or any
17   making or delivery of an instrument of transfer pursuant to the Plan shall be exempt from the
18   imposition and payment of any and all transfer taxes (including, without limitation, any and all
19   stamp taxes or similar taxes and any interest, penalties, and addition to the tax that may be required
20   to be paid in connection with the consummation of the Plan) pursuant to sections 106, 505(a), 1141,
21   and 1146(a) of the Bankruptcy Code. Unless the Bankruptcy Court orders otherwise, all sales,
22   transfers, and assignments of owned and leased property approved by the Bankruptcy Court on or
23   before the Effective Date shall be deemed to have been in furtherance of, or in connection with, the
24   Plan.
25           13.5    Dissolution of Statutory Committees and Cessation of Fee and Expense
                     Payment.
26
             On the Effective Date, any statutory committee(s) appointed in the Chapter 11 Case,
27
     including the Committee, shall dissolve, and the members thereof shall be released and discharged
28

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 1   from all rights and duties arising from, or related to, the Chapter 11 Case. The Reorganized Debtor
 2   shall not be responsible for paying any fees and expenses incurred after the Effective Date, if any,
 3   by the professionals retained by any such committee, other than for the reasonable fees and
 4   expenses for the services authorized to be provided pursuant to this Article 13.5.
 5          13.6    Substantial Consummation.

 6          On the Discharge Date, the Plan shall be deemed to be substantially consummated under
 7   sections 1101 and 1127(b) of the Bankruptcy Code.
 8          13.7    Expedited Determination of Postpetition Taxes.

 9          The Reorganized Debtor shall be authorized to request an expedited determination under
10   section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the Debtor for
11   any and all taxable periods ending after the Petition Date through, and including, the Effective Date.
12          13.8    Modification and Amendments.

13          Subject to the requirements of section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019,
14   and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, the Debtor
15   may alter, amend, or modify the Plan at any time prior to the Effective Date. Holders of Claims that
16   have accepted the Plan shall be deemed to have accepted the Plan, as altered, amended, or modified,
17   if the proposed alteration, amendment, or modification complies with the requirements of this
18   Article 13.8 and does not materially and adversely change the treatment of the Claim of such holder;
19   provided, however, that any holders of Claims that were deemed to accept the Plan because such
20   Claims were Unimpaired shall continue to be deemed to accept the Plan only if, after giving effect
21   to such amendment or modification, such Claims continue to be Unimpaired.
22          Entry of a Confirmation Order shall mean that all modifications or amendments to the Plan
23   since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and
24   do not require additional disclosure or resolicitation under Bankruptcy Rule 3019.
25          13.9    Additional Documents.

26          On or before the Effective Date, the Debtor may enter into any agreements and other
27   documents as may be necessary or appropriate to effectuate and further evidence the terms and
28   conditions of the Plan. The Debtor or Reorganized Debtor, as applicable, and all holders of Claims

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 1   receiving Plan Distributions and all other parties in interest may, from time to time, prepare,
 2   execute, and deliver any agreements or documents and take any other actions as may be necessary
 3   or advisable to effectuate the provisions and intent of the Plan.
 4            13.10 Effectuating Documents and Further Transactions.

 5            On and after the Effective Date, the Reorganized Debtor is authorized to execute, deliver,
 6   file, or record such contracts, instruments, releases, indentures, and other agreements or documents
 7   and take such actions as may be necessary or appropriate to effectuate and further evidence the
 8   terms and conditions of the Plan, without the need for any approvals, authorizations, or consents,
 9   except for those expressly required pursuant to the Plan.
10            13.11 Plan Supplement.

11            All exhibits and documents included in the Plan Supplement are incorporated into, and are
12   a part of, the Plan as if set forth in full in the Plan, and any reference to the Plan shall mean the Plan
13   and the Plan Supplement. Upon its filing, the Plan Supplement may be inspected in the office of
14   the clerk of the Bankruptcy Court or its designee during normal business hours, at the Bankruptcy
15   Court’s website at www.cacb.uscourts.gov, and at the website of the Voting Agent at
16   https://dm.epiq11.com/YT1. The documents contained in the Plan Supplement are an integral part
17   of the Plan and shall be deemed approved by the Bankruptcy Court pursuant to the Confirmation
18   Order.
19            13.12 Entire Agreement.

20            Except as otherwise indicated, the Plan and the Plan Supplement supersede all previous and
21   contemporaneous      negotiations,    promises,    covenants,     agreements,     understandings,     and
22   representations on such subjects, all of which have become merged and integrated into the Plan.
23            13.13 Revocation or Withdrawal of the Plan.

24            The Debtor reserves the right to revoke or withdraw the Plan at any time prior to the
25   Effective Date. If the Debtor takes such action, the Plan shall be deemed null and void in its entirety
26   and of no force or effect, and any settlement or compromise embodied in the Plan (including the
27   fixing or limiting to an amount certain of any Claim or Class of Claims), assumption of executory
28   contracts or unexpired leases effected under the Plan, and any document or agreement executed

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 1   pursuant to the Plan, shall be deemed null and void. In such event, nothing contained in the Plan
 2   shall (a) constitute or be deemed to be a waiver or release of any Claim against the Debtor or any
 3   other Entity; (b) prejudice in any manner the rights of the Debtor or any Entity in further
 4   proceedings involving the Debtor; or (c) constitute an admission, acknowledgement, offer, or
 5   undertaking of any sort by the Debtor or any other Entity.
 6          13.14 Severability.

 7          If, prior to the entry of the Confirmation Order, any term or provision of the Plan is held by
 8   the Bankruptcy Court to be invalid, void, or unenforceable, at the request of the Debtor, the
 9   Bankruptcy Court shall have the power to alter and interpret such term or provision to make it valid
10   or enforceable to the maximum extent practicable, consistent with the original purpose of the term
11   or provision held to be invalid, void, or unenforceable, and such term or provision shall then be
12   applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
13   the remainder of the terms and provisions of the Plan shall remain in full force and effect and shall
14   in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
15   Confirmation Order shall constitute a judicial determination and shall provide that each term and
16   provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
17   is (a) valid and enforceable pursuant to its terms; (b) integral to the Plan; and (c) non-severable and
18   mutually dependent.
19          13.15 Solicitation.

20          Upon entry of the Confirmation Order, the Debtor shall be deemed to have solicited
21   acceptances of the Plan in good faith and in compliance with the applicable provisions of the
22   Bankruptcy Code, including, without limitation, section 1125(e) of the Bankruptcy Code, and any
23   applicable non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in
24   connection with such solicitation. The Debtor, the Reorganized Debtor, and each of their respective
25   employees, agents, representatives, advisors, attorneys, accountants, consultants, and professionals
26   shall be deemed to have participated in good faith and in compliance with the applicable provisions
27   of the Bankruptcy Code in the offer, issuance, sale, and purchase of any securities offered or sold
28   under the Plan, and therefore, are not, and on account of such offer, issuance, sale, solicitation, or

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 1   purchase shall not be, liable at any time for the violation of any applicable law, rule, or regulation
 2   governing the solicitation of acceptances or rejections of the Plan or the offer, issuance, sale, or
 3   purchase of any securities offered or sold under the Plan.
 4             13.16 Governing Law.

 5             Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code
 6   and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the state of California,
 7   without giving effect to the principles of conflict of laws, shall govern the rights, obligations,
 8   construction, and implementation of the Plan, and any agreements, documents, instruments, or
 9   contracts executed or entered into in connection with the Plan (except as otherwise set forth in those
10   agreements, in which case the governing law of such agreement shall control).
11             13.17 Compliance with Tax Requirements.

12             In connection with the Plan and all instruments issued in connection herewith and
13   distributed hereunder, any Entity issuing any instruments or making any distribution under the Plan
14   shall comply with all applicable withholding and reporting requirements imposed by any federal,
15   state, local, or foreign taxing authority, and all distributions under the Plan shall be subject to any
16   such withholding or reporting requirements. Any Entity issuing any instruments or making any
17   distribution under the Plan to a holder of an Allowed Claim has the right, but not the obligation,
18   not to make a distribution until such holder has provided to such Entity the information necessary
19   to comply with any withholding requirements of any such taxing authority, and any required
20   withholdings (determined after taking into account all information provided by such holder
21   pursuant to this Article 13.17) shall reduce the distribution to such holder.
22             13.18 Successors and Assigns.

23             The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be
24   binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or assign,
25   affiliate, officer, director, agent, representative, attorney, beneficiary, or guardian, if any, of each
26   Entity.
27             13.19 Closing of Chapter 11 Case.

28             The Reorganized Debtor shall, as promptly as practicable after the full administration of

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 1   the Chapter 11 Case, file with the Bankruptcy Court all documents required by Bankruptcy Rule
 2   3022, Local Bankruptcy Rule 3022-1, and any applicable order of the Bankruptcy Court to close
 3   the Chapter 11 Case.
 4          13.20 Document Retention.

 5          On and after the Effective Date, the Reorganized Debtor may maintain documents in
 6   accordance with his current document retention policy, as may be altered, amended, modified, or
 7   supplemented by the Reorganized Debtor without order of the Bankruptcy Court.
 8          13.21 Conflicts.

 9          In the event of any conflict between the terms and provisions in the Plan (without reference
10   to the Plan Supplement) and the terms and provisions in the Disclosure Statement, the Plan
11   Supplement, any other instrument or document created or executed pursuant to the Plan, or any
12   order (other than the Confirmation Order) referenced in the Plan (or any exhibits, schedules,
13   appendices, supplements, or amendments to any of the foregoing), the Plan (without reference to
14   the Plan Supplement) shall govern and control; provided, however, that in the event of a conflict
15   between the Confirmation Order, on the one hand, and the Plan or the Plan Supplement, on the
16   other hand, the Confirmation Order shall govern and control in all respects.
17          13.22 Service of Documents.

18          After the Effective Date, any pleading, notice, or other document required by the Plan to be
19   served on or delivered to:
20                  the Debtor or the Reorganized Debtor, shall be served on:
21                          PACHULSKI STANG ZIEHL & JONES LLP
                            10100 Santa Monica Blvd., 13th Floor
22
                            Los Angeles, California 90067
23                          Attn: Richard M. Pachulski; Jeffrey W. Dulberg; Malhar S. Pagay
                            Email: rpachulski@pszjlaw.com; jdulberg@pszjlaw.com;
24                          mpagay@pszjlaw.com
25                          - and -
26                          O’Melveny & Myers LLP
27                          Times Square Tower
                            Seven Times Square
28                          New York, New York 10036

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 1                         Attn: Suzzanne Uhland; Diana Perez
                           Email: suhland@omm.com; dperez@omm.com
 2

 3          After the Effective Date, the Reorganized Debtor shall be authorized to limit the list of
 4   Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed a
 5   renewed request to receive documents pursuant to Bankruptcy Rule 2002.
 6          13.23 Deemed Acts.
 7          Whenever an act or event is expressed under the Plan to have been deemed done or to have
 8   occurred, it shall be deemed to have been done or to have occurred without any further act by any
 9   party, by virtue of the Plan and the Confirmation Order.
10          13.24 Waiver or Estoppel.
11          Each holder of a Claim shall be deemed to have waived any right to assert any argument,
12   including the right to argue that its Claim should be Allowed in a certain amount, in a certain
13   priority, secured, or not subordinated by virtue of an agreement made with the Debtor or its counsel
14   or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or
15   papers filed with the Bankruptcy Court prior to the Confirmation Date.
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 1                                            SCHEDULE A
 2                                    Schedule of Retained Actions
 3      1.    Case Title: Han’s San Jose Hospitality LLC v. Jia Yueting, et al.

 4            Case Number: Case No. 19 CV342187 (Consolidated with Han’s San Jose Hospitality LLC
              v. Le Holdings (Beijing) Co., LTD, et al. Case No. 17CV317221)
 5            Nature of the case: Unlawful detainer/ alter ego
 6            Court or agency: Santa Clara Superior Court, 191 North 1st Street, San Jose, California,
              95113
 7            Status of the case: Pending
 8      4.    Case Title: Shanghai Lan Cai Asset Management Co, Ltd v. Jia Yueting, FF Peak Holding
              Limited and FF Top Holding Ltd.
 9
              Case Number: Case No. BVIHC (COM) 198/2018
10
              Nature of Case: Enforcement of arbitration award issued by the Beijing Arbitration
11            Commission with freezing orders against the entire issued share capital of FF Peak Holding
              Limited and FF Top Holding Ltd.
12            Court or Agency: Eastern Caribbean Supreme Court, Registry of the High Court, 2nd
              Floor, SAKAL Building, Wickham’s Cay, Road Town Tortola VG1110
13
              Status of Case: Pending
14
        5.    Case Title: 0-Film Global (HK) Trading Ltd. and Nanchang 0-Film Photoelectric
15            Technology Co., Ltd. v. Yue-Ting Jia
              Case Number: Case No. YC072617
16
              Court or Agency: Superior Court of the State of California, County of Los Angeles,
17            Torrance Courthouse 825 Maple Ave., Torrance, CA 90503

18            Nature of the case: Breach of contract
              Status of Case: Pending
19
        6.    Case Title: China CITIC Bank Co., Ltd. Head Office Sales Department v. Yueting Jia &
20            Leshi Holdings (Beijing) Co., Ltd. & Beijing Fortune Times Real Estate Co., Ltd. & Beijing
              Baiding New Century Business Management Co., Ltd. & LeTV Information Technology
21            (Beijing) Co., Ltd.
22            Case Number: Case No. 2017 Jin Min Chu #86

23            Court Name: Beijing High People's Court
              Court Address: No. 10, Jianguomen South Street, Chaoyang District, Beijing 100022
24
              Nature: Financial loan contract dispute
25            Status: On appeal
26      7.    Case Title: Ping An Bank Co., Ltd. Shenzhen Branch v. Yueting Jia & Leshi Holdings
              (Beijing) Co., Ltd. & Leshi Sports Culture Industry Development (Beijing) Co., Ltd.
27
              Case Number: 2018 Yue Min Chu #125
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 1            Court Name: Guangdong High People’s Court

 2            Court Address: No. 9, Yiheng Road, Yuancun, Tianhe District, Guangzhou, China 510655
              Nature: Financial loan contract dispute
 3
              Status: Pending
 4
        8.    Case Title: BOE Technology (Hong Kong) Co., Ltd. v. Yueting Jia & LeTV Mobile
 5            Intelligent Information Technology (Beijing) Co., Ltd. & LeSai Mobile Technology
              (Beijing) Co., Ltd. & Leshi Holdings (Beijing) Co., Ltd.
 6            Case Number: 2017 Jing Min Chu #54
 7            Court Name: Beijing High People’s Court, No. 10, Jianguomen South Street, Chaoyang
              District, Beijing, China 100022
 8
              Nature: Sale contract dispute
 9            Status: Pending

10      9.    Case Title: Yizhuang International Holdings (Hong Kong) Co., Ltd. v. Yueting jia & Leshi
              Holdings (Beijing) Co., Ltd.
11
              Case Number: Case No. 2018 Jing Min Chu #72
12            Court Name: Beijing High People’s Court, No. 10, Jianguomen South Street, Chaoyang
              District, Beijing, China 100022
13
              Nature: Guarantee contract dispute
14
              Status: Pending
15
        10.   Case Title: Beijing Century Ruike System Technology Co., Ltd. v. Yueting Jia & Leshi
16            Sports Culture Industry Development (Beijing) Co., Ltd. & Leshi Holdings (Beijing) Co.,
              Ltd.
17            Case Number: Case No. 2018 Jing 0108 Min Chu #51312
18            Court Name: Beijing Haidian District People’s Court, 12 Danling Street, Haidian District,
              Beijing, China 100080
19            Nature: Sale contract dispute
20            Status: Pending

21      11.   Case Title: Jiangsu Red Earth Venture Capital Management Co., Ltd. v. Yueting Jia

22            Case Number: Unknown
              Court Name: Ningbo Intermediate People’s Court, Zhejiang Province, No. 746 Zhongxing
23            Road, Jiangdong District, Ningbo, Zhejiang, China 315040
24            Nature: Contract dispute
              Status: Pending
25
        12.   Case Title: Gan Wei v. Yueting Jia
26
              Case Number: Unknown
27            Court Name: Chengdu Jinjiang District People’s Court, No. 90, Longzhou Road,
              Gongnongyuan Street, Jinjian District, Chengdu, Sichuan, China
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 1            Nature: Divorce proceeding

 2            Status: Pending

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 1                                          SCHEDULE B
 2               Schedule of Contracts and Leases to be Assumed Under the Plan
 3      1.    Contract/Lease: Residential Lease for real property located at (1) 7 Marguerite Drive,
              Rancho Palos Verdes, CA 90275; (2) 11 Marguerite Drive, Rancho Palos Verdes, CA 90275;
 4            (3) 15 Marguerite Drive, Rancho Palos Verdes, CA 90275; (4) 19 Marguerite Drive, Rancho
              Palos Verdes, CA 90275; and (5) 91 Marguerite Drive, Rancho Palos Verdes, CA 90275
 5
              Counterparty: Ocean View Drive Inc., 7 Marguerite Drive, Rancho Palos Verdes, CA 90275
 6      2.    Contract/Lease: Residential Sublease for (1) 7 Marguerite Drive, Rancho Palos Verdes, CA
              90275; (2) 11 Marguerite Drive, Rancho Palos Verdes, CA 90275; (3) 15 Marguerite Drive,
 7
              Rancho Palos Verdes, CA 90275; and (4) 19 Marguerite Drive, Rancho Palos Verdes, CA
 8            90275
              Counterparty: Warm Time Inc., 30037 Avenida Esplendida, Rancho Palos Verdes, CA
 9            90275
10      3.    Contract/Lease: Agreement Regarding Services dated September 20, 2019
              Counterparty: Xiangxiang Zuo
11
        4.    Contract/Lease: Agreement Regarding Services dated September 20, 2019
12            Counterparty: Jerry Wang
13      5.    Contract/Lease: Agreement Regarding Services dated September 20, 2019

14            Counterparty: Mia Zhang
        6.    Contract/Lease: Agreement Regarding Services dated September 20, 2019
15
              Counterparty: Luetian Sun
16      7.    Contract/Lease: Agreement Regarding Services dated September 20, 2019
17            Counterparty: Shan He
        8.    Contract/Lease: Agreement Regarding Services dated September 20, 2019
18
              Counterparty: Ruokun Jia
19
        9.    Contract/Lease: Agreement Regarding Services dated September 20, 2019
20            Counterparty: Chaoying Deng
21      10.   Contract/Lease: Agreement Regarding Services dated September 20, 2019
              Counterparty: Xinyu Zhang
22
        11.   Contract/Lease: Agreement Regarding Services dated September 20, 2019
23
              Counterparty: Xiaoou Ma
24      12.   Contract/Lease: Restructuring Agreement and Call Option dated December 31, 2018

25            Counterparty: Season Smart Limited, Vistra Corporate Services Centre, Wickhams Cay II,
              Road Town, Tortola, VG1110, British Virgin Islands
26

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 1                                        SCHEDULE C
 2              Schedule of Key China Business Individuals and KCBI Claimants
 3       Key China Business Individuals     KCBI Claimants and Released Guarantees
         Hong Liu                         Beijing Haidian Technology Financial Capital
 4       Peng Shi                         Holding Group Co., Ltd. ($41,958,041.96)
         Yongqinag Yang                   Huaxia Life Insurance Co., Ltd. ($55,944,055.94)
 5       Yuemin Jia                       1. Wuhan Credit Loan Co., Ltd.($41,958,041.96)
                                          2. Shenzhen Yingda Capital Management Co.,
 6                                           Ltd. ($279,720,279.72)
                                          3. Linfen investment group Co., Ltd.
 7                                           ($139,860,139.86)
                                          4. Ping An Bank Co., Ltd. Beijing Branch
 8                                           ($173,846,153.85)
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 1                                       SCHEDULE D
 2                                     Schedule of Entities
 3
        1. Atieva, Inc. D/B/A Lucid Motors, Inc.;
 4      2. BAIC Motor Vehicle Co. Ltd.;
        3. Blitz Technology Hong Kong Co. Limited;
 5
        4. Blue Sea Legend LLC;
 6      5. Evergrande Health Industry Group;
        6. Hankey Capital LLC;
 7      7. Hengtian Zhongyan Investment Management Co., Ltd.;
        8. Innovation Era Holding Ltd.;
 8      9. Ki Lun Trading Ltd.;
        10. Kin Kin (Hong Kong) Limited;
 9
        11. Lanfeng (HK) Holding Limited;
10      12. LeSoar Holdings Limited;
        13. Liberal Faith Limited (BVI);
11      14. Lucid Motors, Inc.;
        15. Ningbo Hangzhou Bay New District Lenuo Investment Management Co., Ltd.;
12      16. Ocean View Drive, Inc.;
13      17. Royod LLC;
        18. Segomind, Inc.;
14      19. Shing Wai Trading Limited;
        20. Shou Yi Lian Jie (Beijing) Technology Ltd. Co.;
15      21. Success Pyramid Ltd.;
        22. Warm Time Inc.; and
16      23. Yi Jia Living Trust.
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 1                                          Submitted by

 2   Dated: March 17, 2020                  PACHULSKI STANG ZIEHL & JONES LLP

 3
                                            By: /s/ Malhar S. Pagay
 4                                                  Richard M. Pachulski
                                                    Jeffrey W. Dulberg
 5                                                  Malhar S. Pagay
 6                                              Attorneys for Debtor and
                                                Debtor in Possession
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S THIRD AMENDED PLAN OF
REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 17, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ____________, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 17, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 VIA HAND DELIVERY                                                        DANIEL J. SAVAL
 The Honorable Vincent P. Zurzolo                                         Email: daniel.saval@kobrekim.com
 United States Bankruptcy Court
 Central District of California                                           DONG NI (DONNA) XU
 255 East Temple Street, Suite 1360 / Courtroom 1368                      Email: donna.xu@kobrekim.com
 Los Angeles, CA 90012
                                                                          Luke A. Barefoot
                                                                          Email: lbarefoot@cgsh.com

                                                                          Thomas S. Kessler
                                                                          Email: tkessler@cgsh.com

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  March 17, 2020               Mary de Leon                                                     /s/ Mary de Leon
  Date                         Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com,
         lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
        Stephen D Finestone sfinestone@fhlawllp.com
        Richard H Golubow rgolubow@wghlawyers.com,
         pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservices.com
        Alexandra N Krasovec krasovec.alexandra@dorsey.com, claridge.vanessa@dorsey.com
        Ben H Logan blogan@omm.com
        Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        David W. Meadows david@davidwmeadowslaw.com
        John A Moe john.moe@dentons.com, glenda.spratt@dentons.com
        Kelly L Morrison kelly.l.morrison@usdoj.gov
        Malhar S Pagay mpagay@pszjlaw.com, bdassa@pszjlaw.com
        Christopher E Prince cprince@lesnickprince.com,
         jmack@lesnickprince.com;cprince@ecf.courtdrive.com
        Victor A Sahn vsahn@sulmeyerlaw.com,
         pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair@sulmeyerl
         aw.com;cblair@ecf.inforuptcy.com;dlee@metallawgroup.com;dlee@ecf.inforuptcy.com
        Randye B Soref rsoref@polsinelli.com, ccripe@polsinelli.com;ladocketing@polsinelli.com
        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Claire K Wu ckwu@sulmeyerlaw.com,
         mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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